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New York, New York 10006
(212) 669-0600

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------X
IN THE MATTER OF THE COMPLAINT OF                                       :
HAPAG-LLOYD AKTIENGESELLSCHAFT                                          :
A/K/A HAPAG-LLOYD AG:                                                   :   Docket No. 19-cv-5731 (GHW)
                                                                        :
AS OWNERS AND OPERATORS OF THE M/V                                      :
YANTIAN EXPRESS,                                                        :
                                                                        :
                           Limitation Plaintiffs,                       :   AMENDED
------------------------------------------------------------------------X   THIRD-PARTY
FEDERAL INSURANCE COMPANY, INDEMNITY                                    :   COMPLAINT
INSURANCE COMPANY OF NORTH AMERICA,                                     :
AGCS MARINE INSURANCE COMPANY,TOKIO                                     :
MARINE AMERICA INSURANCE COMPANY, MITSUI :
SUMITOMO INSURANCE COMPANY LTD, MITSUI :
SUMITOMO INSURANCE COMPANY OF AMERICA, :
MITSUI SUMITOMO INSURANCE USA LTD., HDI                                 :
GLOBAL INSURANCE COMPANY, TRAVELERS                                     :
PROPERTY CASUALTY COMPANY OF AMERICA, :
ST. PAUL FIRE AND MARINE INSURANCE                                      :
COMPANY, FPG INSURANCE (THAILAND) PUBLIC :
COMPANY LTD, QBE INSURANCE (VIETNAM)                                    :
COMPANY LTD, SAFETY INSURANCE PUBLIC                                    :
COMPANY LTD, PT ASURANSI CENTRAL ASIA,                                  :
GREAT AMERICAN INSURANCE COMPANY LTD, :
AXA INSURANCE (THAILAND) PUBLIC COMPANY :
LTD, AXA INSURANCE (SINGAPORE) PTE LTD,                                 :
TAIAN INSURANCE COMPANY LTD, CHINA                                      :
PACIFIC INSURANCE COMPANY LTD, CHARAN                                   :
INSURANCE COMPANY LTD, NEW INDIA                                        :
ASSURANCE COMPANY LTD, AXA XL UK, AXA XL :
USA, STARR INDEMNITY AND LIABILITY                                      :
COMPANY, ALLIANZ USA, ZURICH INSURANCE                                  :
UK, TOKIO MARINE THAILAND PLC, BAO VIET                                 :
INSURANCE CORPORATION, PT ASURANSI ARTHA :
GUNA, MUANG THAI INSURANCE PLC, STARR                                   :
USA, AXA XL SINGAPORE, ALLIANZ SRI LANKA, :
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PRAGATI INSURANCE LTD, VIETINBANK          :
INSURANCE COMPANY LTD, AXA XL SWEDEN,      :
NEW YORK MARINE AND GENERAL INSURANCE :
COMPANY, PROSIGHT SPECIALTY UK, HOTAI      :
INSURANCE COMPANY LTD, BMS GROUP,          :
BAOMINH INSURANCE CORP, WISE               :
UNDERWRITING AGENCY LTD, PLUS ULTRA        :
SEGUROS GENERALES Y VIDA SA, MITSUI        :
SUMITOMO INSURANCE CO LTD, MITSUI          :
SUMITOMO MARINE MANAGEMENT USA, RSA        :
NEDERLAND, TOKIO MARINE AND NICHIDO FIRE :
INSURANCE COMPANY, MSIG INSURANCE          :
SINGAPORE PTE LTD, ASPEN INSURANCE UK LTD, :
RSA CANADA, ALLIANZ INSURANCE LANKA, LTD, :
ALLIANZ MALAYSIA, ALLIANZ MARINE AND       :
TRANSIT UNDERWRITING AGENCY LTD, ALLIANZ :
C.P. GENERAL INSURANCE CO LTD, AXA         :
CORPORATE HONG KONG, AXA GENERAL           :
INSURANCE HONG KONG LTD, AXA INSURANCE :
COMPANY, BAJAJ ALLIANZ GENERAL INSURANCE :
CO. LTD, BANKOK INSURANCE PUBLIC CO. LTD, :
BAO LONG INSURANCE CORP, BERKSHIRE         :
HATHAWAY NY, BHARTI AXA GENERAL            :
INSURANCE CO LTD, BIDV INSURANCE CORP,     :
BRIT INSURANCE USA, BURNS AND WILCOX LTD, :
CEYLINCO GENERAL INSURANCE LTD,            :
CHOLAMANDALAM MS GENERAL INSURANCE CO :
LTD, CHUBB SAMAGGI INSURANCE PUBLIC CO     :
LTD, CHUBB MELBOURNE, CHUBB                :
LONDON,CHUBB MILAN, PT ASURANSI DAYIN      :
MITRA TBK, WISMA HAYAM WURUK, FAIRFIRST :
INSURANCE LTD, FALVEY CARGO                :
UNDERWRITING, FUBON INSURANCE CO LTD,      :
FUTURE GENERALI INSURANCE CO LTD, GREAT :
EASTERN GENERAL INSURANCE LTD, HANOVER :
INSURANCE GROUP, HDFC ERGO GENERAL         :
INSURANCE CO LTD, ICICILOMBARD GENERAL     :
INSURANCE CO LTD, INTACT INSURANCE CO,     :
KYOEI FIRE AND MARINE INSURANCE CO LTD,    :
LIBERTY MUTUAL INSURANCE, LIBERTY          :
INSURANCE PTE, MARKEL INSURANCE CO, MPI    :
GENERALI INSURANS BERHAD, NATIONAL         :
INSURANCE CO LTD, NEW INDIA ASSURANCE CO :

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LTD, NORTHBRIDGE GENERAL INSURANCE CORP, :
NATIONAL TRANSPORT INSURANCE CO LTD,       :
ORIENTAL INSURANCE CO LTD, PACIFIC         :
INSURANCE BHD, PEOPLE’S INSURANCE          :
COMPANY OF CHINA LTD, PETROVIETNAM         :
INSURANCE CORPORATION, QBE HONG KONG       :
AND SHANGHAI INSURANCE LTD, RECKITT        :
BENCKISER GROUP PLC, RELIANCE GENERAL      :
INSURANCE CO LTD, RLI INSURANCE, ROYAL AND :
SUNALLIANCE INSURANCE (CHARLOTTE), ROYAL :
SUNDARAM GENERAL INSURANCE CO LTD,         :
SAMSUNG FIRE AND MARINE INSURANCE CO LTD, :
SBI GENERAL INSURANCE CO LTD, PT ASURANSI :
SINARMAS, ASURANSI SOMPO JAPAN NIPPONKOA :
INDONESIA, PT SOMPO INSURANCE INDONESIA    :
LTD, SOMPO INTERNATIONAL, THAISRI          :
INSURANCE CO LTD, TOKIO MARINE INSURANCE :
SINGAPORE LTD, TOKIO MARINE NEWA           :
INSURANCE CO LTD, UNITED INDIA INSURANCE :
CO LTD, UNITED INSURANCE COMPANY OF        :
VIETNAM CO LTD, PT ASURANSI WAHANA TATA, :
ZURICH INSURANCE, BALOISE BELGIUM NV, AIG :
EUROPE SA, AIG INSURANCE COMPANY OF        :
CANADA, AIG INSURANCE COMPANY CHINA LTD., :
AIG INSURANCE HONG KONG LTD, PT AIG        :
INSURANCE INDONESIA, AIG KOREA INC, AIG    :
GENERAL INSURANCE COMPANY LTD, NEW         :
HAMPSHIRE INSURANCE COMPANY, AIG           :
INSURANCE THAILAND, AMERICAN               :
INTERNATIONAL GROUP UK LTD, TATA AIG       :
GENERAL INSURANCE COMPANY LTD., AXA        :
CORPORATE SOLUTIONS ASSURANCE, AXA XL,     :
AXA INSURANCE CO, THE CONTINENTAL          :
CASUALTY COMPANY, THE CONTINENTAL          :
INSURANCE COMPANY, ATLANTIC SPECIALTY      :
INSURANCE COMPANY, MUNICHRE SYNDICATE :
LIMITED/ROANOKE INTERNATIONAL BROKERS      :
LTD, NEXUS UNDERWRITING LTD, LIBERTY       :
SPECIALTY MARKETS/LIBERTY MUTUAL           :
INSURANCE GROUP, MS AMLIN UNDERWRITING :
LTD, QBE EUROPEAN OPERATIONS, MARKEL       :
INTERNATIONAL, CENTRAAL BEHEER ACHMEA, :
BRIT GLOBAL SPECIALTY, CATHEDRAL CAPITAL, :

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BEAZLEY GROUP, ASCOT UNDERWRITING LTD,         :
NAVIGATORS INSURANCE CO, MUNICH RE             :
SYNDICATE LTD, CHUBB INSURANCE OF              :
CANADA, LAMPE & SCHWARTZ KG, MSIG              :
INSURANCE (VIETNAM) CO LTD, ROYAL SUN AND      :
ALLIANCE INSURANCE PLC, MSIG INSURANCE         :
(THAILAND) PLC, MITSUI SUMITOMO INSURANCE      :
CO LTD (JAPAN), COASTAL UNDERWRITERS LTD,      :
SOMPO JAPAN NIPPONKOA INSURANCE INC,           :
DZUNGSRT AND ASSOCIATES LLC, SOMPO             :
INSURANCE (HONG KONG) LTD                      :
                                               :
             Claimants/Third-Party Plaintiffs, :
                                               :
      - against -                              :
                                               :
YANG MING MARINE TRANSPORT CORP.; OCEAN :
NETWORK EXPRESS PTE. LTD.; TRANSWORLD          :
TRANSPORTATION CO. LTD.; ORIENT STAR           :
TRANSPORT INTERNATIONAL LTD.; BAO BINH         :
IMPORT EXPORT BUSINESS COMPANY LIMITED; :
ZEMU INTERNATIONAL, INC.;                      :
ACU TRANSPORT COMPANY LIMITED; ADVANCED :
INTERNATIONAL FREIGHT, INC.; ALLCARGO          :
LOGISTICS LTD.; AMERICAN CARGO EXPRESS, INC.:
APEX SHIPPING CO.; APEX LOGISTICS              :
INTERNATIONAL, INC.; APEX LOGISTICS            :
INTERNATIONAL (VIETNAM) CO. LTD.; ARK          :
SHIPPING, INC; BARSAN GLOBAL LOGISTICS INC.; :
CAF WORLDWIDE, INC.; CMX PRIVATE LIMITED; :
CARGO CONTAINER LINE LTD.; CARGO CARE          :
LOGISTICS, INC.; C.H. ROBINSON INTERNATIONAL, :
INC. DBA CHRISTAL LINES; CONTINENTAL           :
CARRIERS PVT LTD.; CRANE WORLDWIDE             :
LOGISTICS LLC; DAHNAY LOGISTICS PVT LTD.;      :
DAMCO USA INC.; DANMAR LINES LTD.;             :
DART GLOBAL LOGISTICS PVT LTD.; DELTRANS :
INTERNATIONAL SHIPPING CORPORATION;            :
DIRECT SERVICE, INC.; DJR LOGISTICS, INC.;     :
DSV AIR & SEA, INC.; EFL CONTAINER LINES LLC; :
EMU LINES PVT LTD.; EIMSKIP LOGISTICS, INC.;   :
EXPOLANKA FREIGHT (PVT) LIMITED; EXPO          :
FREIGHT (PVT) LIMITED; EXPELOGIX (PVT) LTD.; :

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EXPEDITORS INTERNATIONAL OF WASHINGTON, :
INC.; FML CONTAINER LINES LTD.;             :
FAMOUS TARGET CORP.; FREIGHT SYSTEMS        :
CO. LTD.; FEDEX TRADE                       :
NETWORKS TRANSPORT & BROKERAGE, INC.;       :
HANSEATIC CONTAINER LINES, LTD.; HANSE      :
OCEAN LINE LTD.; HELLMANN WORLDWIDE         :
LOGISTICS INC.; HONOUR LANE SHIPPING LTD.;  :
HYOSUNG TRANS WORLD CO. LTD.;               :
INTERGLOBO NORTH AMERICA, INC; INTERPORT :
GLOBAL LOGISTICS PVT LTD.; INTERNATIONAL    :
CARGOTRANS, INC.; JAMES WORLDWIDE, INC.     :
KINTETSU WORLD EXPRESS, INC.; KLN           :
CONTAINER LINE LTD.; KUEHNE & NAGEL, INC.   :
LF LOGISTICS (CHINA) CO. LTD.; LEGEND       :
CARGO LOGISTICS COMPANY LTD.; MATRIX        :
FREIGHT SYSTEMS PRIVATE LTD.; MITSUBISHI    :
ELECTRIC LOGISTICS CORP.; MN CONTAINER      :
LINES, INC.; M&M TRANSPORT SERVICES, INC.;  :
MONTANE SHIPPING PRIVATE LIMITED; NIPPON :
CONCEPT CORP.; NIPPON EXPRESS CO. LTD.;     :
NIPPON STEEL & SUMIKIN LOGISTICS CO. LTD.;  :
OCEAN NAVIGATOR EXPRESS LINE LTD.;          :
OIA GLOBAL INDIA PVT LTD.; ORIENT           :
EXPRESS CONTAINER CO. LTD.;                 :
PANTAINER (H.K.) LTD.’ PINNACLE             :
INTERNATIONAL FREIGHT FORWARDER, INC.       :
PYRAMID LINES LTD.; QUALITY EXPRESS USA INC.:
RITRA CARGO HOLLAND BV;                     :
ROUND-THE-WORLD LOGISTICS, INC.             :
AIRSCHOTT, INC DBA SEA SCHOTT               :
SCHENKEROCEAN LTD.                          :
AGILITY LTD. DBA SEAQUEST LINE              :
PT SAVINO DEL BENE (INDONESIA) LTD.         :
SEAGATE LOGISTICS LTD.; SEAGOLD             :
(PRIVATE) LTD.; SEAHORSE CONTAINER          :
LINES LTD.; SOJITZ LOGISTICS CORP.          :
SINO CONNECTIONS LOGISTICS INC.;            :
SHIPCO TRANSPORT, INC.; SUMISHO GLOBAL      :
LOGISTICS (USA) CORP.; SUNNY INTERNATIONAL :
LOGISTICS, INC.; SUN CARGO CONTAINER LINE LTD:
SUPER CARGO SERVICE CO. LTD.; SWIFT         :
FREIGHT (USA) INC.; TEAMGLOBAL LOGISTICS    :

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PVT LTD.; TOPOCEAN CONSOLIDATION SERVICES :
(LOS ANGELES) INC.; TRANSCONTAINER (USA)        :
INC.; TRANSCONTAINER LTD.; TRANSFREIGHT         :
EXPRESS LINE LTD.; UPS ASIA GROUP PTE. LTD.     :
VTG TANKTAINER GMBH; WORLDWIDE EXPRESS, :
INC.WORLDWIDE LOGISTICS (INDIA) PVT LTD.        :
YUSEN LOGISTICS CO. LTD.; A2Z LOGISTICS INDIA :
PVT LTD.; ADVANTIS FREIGHT PVT LTD.; AIRLIFT :
(U.S.A.) INC.; ALBATROSS LOGISTICS PVT LTD.;    :
ALL WORLD SHIPPING CORP.; AMERICAN GLOBAL :
LOGISTICS LLC; AO CONTAINER LINES INC.; APL :
LOGISTICS LTD.; ARK SHIPPING LINE INC.; ASIA    :
PACIFIC LOGISTICS CO. LTD.; ASSOCIATED          :
CONTAINER LINE PVT LTD.; ATA FREIGHT LINE       :
LTD.; BINEX LINE CORP.; BLUE SKY BLUE SEA       :
INC.; BNSF LOGISTICS OCEAN LINE INC.;           :
CAR GO WORLDWIDE INC.; CARGO CONSOL INDIA :
PVT LTD.; CARONEX WORLDWIDE, INC.; CHOICE :
TRADING CORPORATION PVT LTD.; CJC LOGISTICS :
LLC; CLOUD OCEAN LINE LTD.; CL SYNERGY PVT :
LTD.; COHESION FREIGHT (HK) LTD.; COLLYER       :
LOGISTICS INTERNATIONAL LTD.; CONSOLTAINER :
LINE TRANSPORT GMBH; DHL INTERNATIONAL          :
GMBH; DOLPHIN LOGISTICS CO. LTD.; DOMEK         :
LOGISTICS LLC; DRAFT CARGOWAYS INDIA PVT :
LTD.; FLEXPORT INTERNATIONAL LLC;               :
FLYJAC LOGISTICS PVT LTD.; GFG CORP. USA;       :
GLC OCEAN LINES LTD.; HECNY                     :
TRANSPORTATION INC.; HTL LOGISTICS              :
INDIA PVT LTD.; KAMIGUMI CO. LTD.;              :
LGS LOGISTICS INC.; LOGISTICS PLUS, INC.;       :
LORDS FREIGHT (INDIA) PVT LTD.; M & R           :
LOGISTICS (INDIA) PVT LTD.; MAX IGL, INC.; OOCL :
 LOGISTICS LINE LTD.; PELORUS OCEAN LINE        :
LTD.; PCL CO., LTD S.A.; QUINGDAO KAOYOUNG :
INTERNATIONAL LOGISITICS CO. LTD.; RENUS        :
LOGISTICS PTE LTD.; ROHLIG USA LLC.; SAR        :
TRANSPORT SYSTEMS PVT LTD.; SDS TRANS INC.; :
SOMA UNIVERSAL LOGISTICS PVT LTD.; SPRINT :
 GLOBAL INC.; TOLL GLOBAL FORWARDING            :
(HK) LTD.; TOTAL TRANSPORT SYSTEMS LTD.;        :
TRANSPAC CARGO LINE LTD.; TRANSPORT TEAM :
WORLDWIDE LTD.; TRIUMPH LINK LOGISTICS          :

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LTD.; TRUST FREIGHT SERVICES, INC.; TT OCEAN    :
LOGISTICS, LLC.; UNITED CARGO MANAGEMENT,       :
INC.; UNIWORLD LOGISTICS LTD.; VANTECH          :
HTS FORWARDING, LTD.; WAC LOGISTICS LTD.;       :
OMNITRANS, INC.; PT TIMODA LOGISTICS;           :
HONOUR LANE LOGISTICS CO. LTD.; TOLL            :
GLOBAL FORWARDING (INDIA) PVT LTD.; NISSIN      :
INTERNATIONAL TRANSPORT USA INC.; LAUFER        :
GROUP INTERNATIONAL LTD.; FOREWAY               :
LOGISTICS PVT. LTD.; BDP TRANSPORT INC,;        :
KINGWOOD LOGISTICS LTD.; CITY OCEAN             :
LOGISTICS CO. LTD.; NEWPORT TANK                :
CONTAINERS (USA) LLC; UNIFREIGHT GLOBAL         :
LOGISTICS; CLEARSHIP FORWARDERS PVT. LTD.;      :
K LINE LOGISTICS LTD.; JAS WORLDWIDE INC.       :
D/B/A BLUE WORLD LINE; TEAM LEADER              :
LOGISTICS PVT. LTD.; LCL LOGISTICS (INDIA)      :
LTD.; PANTAINER (HK) LTD.; KOMINIS              :
INTERNATIONAL LLC D/B/A POSEIDON LINES;         :
EVERSTAR SEALANDAIR CO. LTD.; CROWN             :
LOGISTICS LTD.; GLOBAL CONTAINER LINES          :
PVT. LTD.; TRANS SERVICES LINES CO. LTD.        :
D/B/A TRANS SERVICE LINE; ON TIME SHIPPING      :
LINE LTD.; LCL CANADA LTD. D/B/A LYMAN          :
CONTAINER LINE; SHINE INTERNATIONAL             :
TRANSPORTATION (HK) LTD. D/B/A SHINE            :
SHIPPING LTD.; OEC FREIGHT WORLDWIDE            :
CO. LTD.; SEAHORSE SHIPPING CORP.; ASF          :
GLOBAL, LLC; KATOEN NATIE TANK                  :
OPERATIONS INC.; INDIA MARITIME AGENCY          :
LLC D/B/A INTERNATIONAL MARITIME AGENCY         :
LLC; DYNAMIC INTERTRANSPORT CO. LTD.;           :
OCEAN TRACK, INC.; GLOBAL OCEAN AGENCY          :
LINES LLC; UNITED GLOBAL LOGISTICS INC.;        :
PINNACLE WORLD TRANSPORT PTE. LTD.;             :
UNIQUE LOGISTICS INTERNATIONAL (HK) LTD.;       :
OCEAN WIDE LOGISTICS INC.; RS LOGISTICS LTD.;   :
LOGFRET, INC.; UNICROSS FREIGHT SERVICES;       :
TOPOCEAN CONSOLIDATION SERVICE (LOS             :
ANGELES) INC.; PANWIN INTERNATIONAL             :
LOGISTICS CO. LTD.                              :
                                                :
                      Third Party Defendants.   :

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        Claimants/Third-Party Plaintiffs, by and through their attorneys, HILL RIVKINS LLP (“Hill

Rivkins’ Claimants”), complaining of the above-named Third-Party Defendants, allege upon

information and belief:

                                                   PARTIES

        1.       At and during all times relevant hereto, Claimants/Third-Party Plaintiffs were and

now are corporations or other legal entities having interests in connection with certain bills of lading

with principal offices and places of business stated in Schedules One through Seventeen (“The

Schedules”) hereto annexed as Exhibit A and by this reference made a part hereof. Claimants/Third-

Party Plaintiffs are the Insurers of cargoes carried aboard the M/V YANTIAN EXPRESS and in

order to obtain release of the cargoes that they insured were required to post security for Limitation

Plaintiffs’ claims for General Average and Salvage and otherwise may be required to pay certain

claims arising out of the loss of or damage to cargoes insured by them on the subject voyage.

        2.       At and during all times relevant hereto, the M/V YANTIAN EXPRESS (the “Vessel”)

was and now is a 2002 built German-flagged containership, IMO No. 9229831, that was employed in

the common carriage of merchandise by water for hire and now is, or will be during the pendency of

this action, within this District and the jurisdiction of this Honorable Court. The Vessel was in a liner

service, whereby it was scheduled to load and/or discharge cargoes at ports along the East Coast,

including but not limited to the Port of New York.

        3.       At and during all times relevant hereto, Hapag-Lloyd AG (“Limitation Plaintiff”) was

and now is a corporation or other business entity organized and existing by virtue of foreign law with



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an office and principal place of business at Hapag-Lloyd Haus, Ballindamn 25, 20095 Hamburg,

Germany, and was and now is the owner, charterer, manager and/or operator of the Vessel and was

scheduled to load and/or discharge cargoes at ports along the East Coast, including but not limited to

the Port of New York.

       4.      Additionally, Limitation Plaintiff Hapag-Lloyd AG (“HL”) was and now is a common

carrier of goods for hire issuing bills of lading for carriage of cargo aboard the Vessel and was

scheduled to load and/or discharge cargoes at ports along the East Coast, including but not limited to

the Port of New York.

       5.      Limitation Plaintiff, on its own behalf and as, or on behalf of, the Owner of the

Vessel, has invoked the jurisdiction of this Honorable Court by filing for exoneration from or

limtiation of liability in connection with the subject voyage (the “Limitation Action”).

       6.      At and during all times relevant hereto, defendant Yang Ming Marine Transport Corp.

(“Yang Ming”), was and now is a corporation or other business entity organized and existing by

virtue of foreign law with an office and principal place of business at No. 271, Ming De 1st Road,

Cidue District, Keelung 20646, Taiwan (Republic of China). Yang Ming was and now is engaged in

business as a common carrier of goods for hire and issued bills of lading for carriage of cargo aboard

the Vessel including cargoes destined for ports along the East Coast of the United States including

but not limited to New York.

       7.      At and during all times relevant hereto, defendant Ocean Network Express Pte. Ltd.

(“ONE”), was and now is a corporation or other business entity organized and existing by virtue of

foreign law with an office and principal place of business at 7 Straits View, #1601 Marina One East



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Tower, Singapore 018936, and was and now is engaged in business as a common carrier of goods for

hire and issued bills of lading for carriage of cargo board the Vessel including cargoes destined for

ports along the East Coast of the United States including but not limited to New York.

       8.      At all material times to the allegations set forth in this Third-Party Complaint, Yang

Ming and ONE transacted business in the state of New York.

       9.      HL, Yang Ming, and ONE (collectively, the “Vessel Defendants”) were members of

an alliance or other association under which they operated, controlled and/or managed the Vessel and

shared space and container slots on the Vessel pursuant to a vessel sharing or slot charter agreement

whereby the shipments were received, approved for loading, and transported in designated slots

and/or holds depending on, inter alia, the determination as to what cargoes were or were not

hazardous, and the stability requirements for the Vessel, and the port rotation and schedule for

berthing and/or discharging cargo.

       10.     At and during all times relevant hereto, defendant Transworld Transportation Co. Ltd.

(“Transworld”) was and now is a corporation or other business entity organized and existing by

virtue of foreign law with an office and principal place of business at 10F-1, No. 130, Sec. 2 Chung

Hsiao E. Rd., Taipei, Taiwan, Republic of China, and was and now is engaged in business as a non-

vessel owning common carrier of goods for hire, including carrying cargoes destined for ports along

the East Coast of the United States including but not limited to New York.

       11.     At and during all times relevant hereto, Orient Star Transport International Ltd.

(“Orient Star”) was and is organized and existing under foreign law with an office and place of

business at Rm 8-10 18/f Evergain Plaza Tower 1 88 Container Port Rd Kwai Chung, Hong Kong



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and was and now is engaged in business as a non-vessel owning common carrier for hire, including

carrying cargoes destined for ports along the East Coast of the United States including but not

limited to New York and who issued bill of lading no. HCSAVSIN0559/Document No. HCSEIP027

dated December 10, 2018, for the carriage of coconut pellets to Savannah, Georgia.

       12.      At all material times to the allegations set forth in this Third-Party Complaint,

Transworld and Orient Star transacted business in the state of New York and contracted to carry

cargoes destined for the United States.

       13.      At and during all material times relevant hereto, defendant Bao Binh Import Export

Business Company Limited (“Bao Binh”) was and now is a corporation or other business entity

organized and existing by virtue of foreign law with an office and principal place of business at

15/32/45 Vo Duy Nimh, Ward 22, District Bionh Thanh, Ho Chi Minh City, Vietnam and was the

owner, shipper, manufacturer and/or seller of a certain shipment of coconut pellets carried in

container UACU5272502 aboard the Vessel destined for Savannah, Georgia (the “Coconut Pellet

Cargo”) and which, upon information and belief, is believed to be at or near the origin/source of the

subject Fire.

       14.      At and during all material times relevant hereto, defendant Zemu International, Inc.

(“Zemu”) was and now is a corporation or other business entity organized and existing by virtue of

Georgia law with an office and principal place of business at 3073 McCall Drive, Suite #6, Atlanta,

Georgia 30340 and was and now is the owner, receiver, and/or consignee of a certain shipment of

coconut pellets carried in container UACU5272502 aboard the Vessel destined for Savannah,




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Georgia and which is believed to be the subject Fire originated. (Zemu and Bao Binh are referred to

herein as the “Coconut Pellet Defendants”) and it was stowed, on deck, in vicinity of Bay 12.

       15.     Bao Binh and Zemu transacted business for the delivery of coconut pellets or other

cargoes into the United States.

       16.     At and during all times relevant hereto, third-party defendant ACU Transport

Company Limited was and now is a corporation or other business entity organized and existing by

virtue of foreign law with an office and principal place of business at _99/9 Yenakart Road,

Chongnonsee Yannawa, Bangkok 10120 Thailand_and was and now is engaged in business as a

common carrier of goods for hire and issued bills of lading for carriage of cargo board the Vessel

including cargoes destined for ports along the East Coast of the United States including but not

limited to New York.

       17.     At and during all times relevant hereto, third-party defendant Advanced International

Freight, Inc. was and now is a corporation or other business entity organized and existing by virtue of

law with an office and principal place of business at 20 Enterprise Avenue N., Secaucus, NJ 07094

USA_and was and now is engaged in business as a common carrier of goods for hire and issued bills

of lading for carriage of cargo board the Vessel including cargoes destined for ports along the East

Coast of the United States including but not limited to New York.

       18.     At and during all times relevant hereto, third-party defendant Allcargo Logistics Ltd.

was and now is a corporation or other business entity organized and existing by virtue of foreign law

with an office and principal place of business at Avashya House, 6th Floor, CST Road, Kalina,

Santacruz (East) Mumbai 400098 India_and was and now is engaged in business as a common



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carrier of goods for hire and issued bills of lading for carriage of cargo board the Vessel including

cargoes destined for ports along the East Coast of the United States including but not limited to New

York.

        19.    At and during all times relevant hereto, third-party defendant American Cargo

Express, Inc. was and now is a corporation or other business entity organized and existing by virtue

of law with an office and principal place of business at 14459 157th St. Jamaica, NY 11434

USA_and was and now is engaged in business as a common carrier of goods for hire and issued bills

of lading for carriage of cargo board the Vessel including cargoes destined for ports along the East

Coast of the United States including but not limited to New York.

        20.    At and during all times relevant hereto, third-party defendant Apex Shipping Co. was

and now is a corporation or other business entity organized and existing by virtue of law with an

office and principal place of business at 20 North Central Avenue, 2nd Floor, Suite D Valley Stream,

NY 11580 and was and now is engaged in business as a common carrier of goods for hire and issued

bills of lading for carriage of cargo board the Vessel including cargoes destined for ports along the

East Coast of the United States including but not limited to New York.

        21.    At and during all times relevant hereto, third-party defendant Apex Logistics

International, Inc., was and now is a corporation or other business entity organized and existing by

virtue of law with an office and principal place of business at 18554 South Susana Rd., Rancho

Dominguez, CA 90221 and was and now is engaged in business as a common carrier of goods for

hire and issued bills of lading for carriage of cargo board the Vessel including cargoes destined for

ports along the East Coast of the United States including but not limited to New York.



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       22.     At and during all times relevant hereto, third-party defendant Apex Logistics

International (Vietnam) Co. Ltd., was and now is a corporation or other business entity organized

and existing by virtue of foreign law with an office and principal place of business at _Room 2, 5th

Floor, VIT Tower, 519 Kim Ma Street, Ba Dinh, Hanoi, Vietnam and was and now is engaged in

business as a common carrier of goods for hire and issued bills of lading for carriage of cargo board

the Vessel including cargoes destined for ports along the East Coast of the United States including

but not limited to New York.

       23.     At and during all times relevant hereto, third-party defendant Ark Shipping, Inc. was

and now is a corporation or other business entity organized and existing by virtue of foreign law with

an office and principal place of business at Les Cascades Building, Edith Cavell Street, Port Louis,

Mauritius, and was and now is engaged in business as a common carrier of goods for hire and issued

bills of lading for carriage of cargo board the Vessel including cargoes destined for ports along the

East Coast of the United States including but not limited to New York.

       24.     At and during all times relevant hereto, third-party defendant Barsan Global Logistics

Inc. was and now is a corporation or other business entity organized and existing by virtue of law

with an office and principal place of business at 432 Bergen Blvd Unit D, Ridgefield, NJ 07657 and

was and now is engaged in business as a common carrier of goods for hire and issued bills of lading

for carriage of cargo board the Vessel including cargoes destined for ports along the East Coast of

the United States including but not limited to New York.

       25.     At and during all times relevant hereto, third-party defendant CAF Worldwide, Inc.

was and now is a corporation or other business entity organized and existing by virtue of law with an



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office and principal place of business at 1981 Marcus Ave. Suite 240, Lake Success, NY 11042

USA, and was and now is engaged in business as a common carrier of goods for hire and issued bills

of lading for carriage of cargo board the Vessel including cargoes destined for ports along the East

Coast of the United States including but not limited to New York.

       26.     At and during all times relevant hereto, defendant CMX Private Limited was and now

is a corporation or other business entity organized and existing by virtue of foreign law with an office

and principal place of business at Dhaka-Bangladesh, Road No. 13, House No. 548 DOHS Barldhara

and was and now is engaged in business as a common carrier of goods for hire and issued bills of

lading for carriage of cargo board the Vessel including cargoes destined for ports along the East

Coast of the United States including but not limited to New York.

       27.     At and during all times relevant hereto, third-party defendant Cargo Container Line

Ltd. was and now is a corporation or other business entity organized and existing by virtue of

foreign law with an office and principal place of business at 9/F., Continental Electric Industrial

Building, No. 17 Wang Chiu Road, Kowloon Bay, Hong Kong S.A.R. China, and was and now is

engaged in business as a common carrier of goods for hire and issued bills of lading for carriage of

cargo board the Vessel including cargoes destined for ports along the East Coast of the United States

including but not limited to New York.

       28.     At and during all times relevant hereto, third-party defendant Cargo Care Logistics,

Inc. was and now is a corporation or other business entity organized and existing by virtue of foreign

law with an office and principal place of business at Blue Sky Tower, 6/F., 01 Bach Dang St. Ward

2, Tan Binh District, Ho Chi Minh City, Vietnam, and was and now is engaged in business as a



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common carrier of goods for hire and issued bills of lading for carriage of cargo board the Vessel

including cargoes destined for ports along the East Coast of the United States including but not

limited to New York.

        29.    At and during all times relevant hereto, third-party defendant C.H. Robinson

International, Inc. dba CHRistal Lines was and now is a corporation or other business entity

organized and existing by virtue of law with an office and principal place of business at 1501 North

Mittel Blvd., Suite B, Wood Dale, Illinois 60191 and was and now is engaged in business as a

common carrier of goods for hire and issued bills of lading for carriage of cargo board the Vessel

including cargoes destined for ports along the East Coast of the United States including but not

limited to New York.

        30.    At and during all times relevant hereto, third-party defendant Continental Carriers Pvt

Ltd. was and now is a corporation or other business entity organized and existing by virtue of foreign

law with an office and principal place of business at _Continental House, 76-77, Kapashera,

Bijwasan Road, New Delhi 110037 India,_and was and now is engaged in business as a common

carrier of goods for hire and issued bills of lading for carriage of cargo board the Vessel including

cargoes destined for ports along the East Coast of the United States including but not limited to New

York.

        31.    At and during all times relevant hereto, third-party defendant Crane Worldwide

Logistics LLC was and now is a corporation or other business entity organized and existing by virtue

of law with an office and principal place of business at 1500 Rankin Rd. Houston, TX 77073

USA,and was and now is engaged in business as a common carrier of goods for hire and issued bills



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of lading for carriage of cargo board the Vessel including cargoes destined for ports along the East

Coast of the United States including but not limited to New York.

        32.    At and during all times relevant hereto, third-party defendant DahNay Logistics Pvt

Ltd. was and now is a corporation or other business entity organized and existing by virtue of foreign

law with an office and principal place of business at No : 62, 9th Floor, K.G.N Towers, Ethiraj Salai,

Egmore, Chennai, Tamil Nadu 600008, India and was and now is engaged in business as a common

carrier of goods for hire and issued bills of lading for carriage of cargo board the Vessel including

cargoes destined for ports along the East Coast of the United States including but not limited to New

York.

        33.    At and during all times relevant hereto, third-party defendant Damco USA Inc. was

and now is a corporation or other business entity organized and existing by virtue of foreign law with

an office and principal place of business at 180 Park Ave. Building 105, Florham Park, NJ 07932

USA, and was and now is engaged in business as a common carrier of goods for hire and issued bills

of lading for carriage of cargo board the Vessel including cargoes destined for ports along the East

Coast of the United States including but not limited to New York.

        34.    At and during all times relevant hereto, third-party defendant Danmar Lines Ltd. was

and now is a corporation or other business entity organized and existing by virtue of foreign law with

an office and principal place of business at P.O. Box 2651, 4002 Basel Switzerland and was and now

is engaged in business as a common carrier of goods for hire and issued bills of lading for carriage of

cargo board the Vessel including cargoes destined for ports along the East Coast of the United States

including but not limited to New York.



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        35.    At and during all times relevant hereto, third-party defendant Dart Global Logistics

Pvt Ltd. was and now is a corporation or other business entity organized and existing by virtue of

foreign law with an office and principal place of business at George Court,4th Floor, No.5C/501, 5th

Main HRBR, 2nd Block, Bangalore - 560 043 and was and now is engaged in business as a common

carrier of goods for hire and issued bills of lading for carriage of cargo board the Vessel including

cargoes destined for ports along the East Coast of the United States including but not limited to New

York.

        36.    At and during all times relevant hereto, third-party defendant Deltrans International

Shipping Corporation was and now is a corporation or other business entity organized and existing

by virtue of foreign law with an office and principal place of business at Suite 107, Cidel Place

Lower Collymore Rock, Bridgetown, St. Michael, 11000 Barbados, and was and now is engaged in

business as a common carrier of goods for hire and issued bills of lading for carriage of cargo board

the Vessel including cargoes destined for ports along the East Coast of the United States including

but not limited to New York.

        37.    At and during all times relevant hereto, third-party defendant Direct Service, Inc. was

and now is a corporation or other business entity organized and existing by virtue of law with an

office and principal place of business at 1209 John Reed Court, City of Industry, CA 91745 USA,

and was and now is engaged in business as a common carrier of goods for hire and issued bills of

lading for carriage of cargo board the Vessel including cargoes destined for ports along the East

Coast of the United States including but not limited to New York.




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       38.     At and during all times relevant hereto, third-party defendant DJR Logistics, Inc. was

and now is a corporation or other business entity organized and existing by virtue of law with an

office and principal place of business at 11 James St. Mt. Ephriam, NJ 08059 USA, and was and now

is engaged in business as a common carrier of goods for hire and issued bills of lading for carriage of

cargo board the Vessel including cargoes destined for ports along the East Coast of the United States

including but not limited to New York.

       39.     At and during all times relevant hereto, third-party defendant DSV Air & Sea, Inc.

was and now is a corporation or other business entity organized and existing by virtue of law with an

office and principal place of business at 100 Walnut Avenue, Suite 405, Clark, NJ 07066_and was

and now is engaged in business as a common carrier of goods for hire and issued bills of lading for

carriage of cargo board the Vessel including cargoes destined for ports along the East Coast of the

United States including but not limited to New York.

       40.     At and during all times relevant hereto, third-party defendant EFL Container Lines

LLC was and now is a corporation or other business entity organized and existing by virtue of law

with an office and principal place of business at 1975 Linden Blvd. Suite 200 Elmont, NY 11003

USA, _and was and now is engaged in business as a common carrier of goods for hire and issued

bills of lading for carriage of cargo board the Vessel including cargoes destined for ports along the

East Coast of the United States including but not limited to New York.

       41.     At and during all times relevant hereto, third-party defendant EMU Lines Pvt Ltd.

was and now is a corporation or other business entity organized and existing by virtue of foreign law

with an office and principal place of business at 35-A, Siddharth Chambers-II Kalu Sarai, Hauz



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Khas, New Delhi 110016 India,_and was and now is engaged in business as a common carrier of

goods for hire and issued bills of lading for carriage of cargo board the Vessel including cargoes

destined for ports along the East Coast of the United States including but not limited to New York.

       42.     At and during all times relevant hereto, third-party defendant Eimskip Logistics, Inc.

was and now is a corporation or other business entity organized and existing by virtue of law with an

office and principal place of business at 460 Commercial St. Portland, ME 04101 USA and was and

now is engaged in business as a common carrier of goods for hire and issued bills of lading for

carriage of cargo board the Vessel including cargoes destined for ports along the East Coast of the

United States including but not limited to New York.

       43.     At and during all times relevant hereto, third-party defendant Expolanka Freight (Pvt)

Limited , was and now is a corporation or other business entity organized and existing by virtue of

foreign law with an office and principal place of business at Global HQ No. 10, Mile Post Avenue,

Colombo 3, Sri Lanka and was and now is engaged in business as a common carrier of goods for hire

and issued bills of lading for carriage of cargo board the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.

       44.     At and during all times relevant hereto, third-party defendant Expo Freight (Pvt)

Limited was and now is a corporation or other business entity organized and existing by virtue of

foreign law with an office and principal place of business at No. 78 Josies Street, Nungambakkarn,

Chennai-34 India and was and now is engaged in business as a common carrier of goods for hire and

issued bills of lading for carriage of cargo board the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.



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       45.     At and during all times relevant hereto, third-party defendant Expelogix (Pvt) Ltd.

was and now is a corporation or other business entity organized and existing by virtue of foreign law

with an office and principal place of business at 4/F., Sayuru Sevana No. 46/12, Nawam, Mawatha,

Colombo 02 Sri Lanka,_and was and now is engaged in business as a common carrier of goods for

hire and issued bills of lading for carriage of cargo board the Vessel including cargoes destined for

ports along the East Coast of the United States including but not limited to New York.

       46.     At and during all times relevant hereto, third-party defendant Expeditors International

of Washington, Inc. was and now is a corporation or other business entity organized and existing by

virtue of law with an office and principal place of business at 1015 Third Ave, 12th Fl. Seattle, WA

98104 USA,_and was and now is engaged in business as a common carrier of goods for hire and

issued bills of lading for carriage of cargo board the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.

       47.     At and during all times relevant hereto, third-party defendant FML Container Lines

Ltd. was and now is a corporation or other business entity organized and existing by virtue of foreign

law with an office and principal place of business at 2009 Emerold House 2nd Fl. D.Ro Secunderbad

500003 India,_and was and now is engaged in business as a common carrier of goods for hire and

issued bills of lading for carriage of cargo board the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.

       48.     At and during all times relevant hereto, third-party defendant Famous Target Corp.

was and now is a corporation or other business entity organized and existing by virtue of law with an

office and principal place of business at 14739 175th Street #215, Jamaica, NY 11434 and was and



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now is engaged in business as a common carrier of goods for hire and issued bills of lading for

carriage of cargo board the Vessel including cargoes destined for ports along the East Coast of the

United States including but not limited to New York.

       49.     At and during all times relevant hereto, third-party defendant Freight Systems Co.

Ltd. was and now is a corporation or other business entity organized and existing by virtue of foreign

law with an office and principal place of business at Plot M00539, Street 732C, Jebel Ali Free Zone

Dubai 61243 UAE, and was and now is engaged in business as a common carrier of goods for hire

and issued bills of lading for carriage of cargo board the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.

       50.     At and during all times relevant hereto, third-party defendant FedEx Trade Networks

Transport & Brokerage, Inc. was and now is a corporation or other business entity organized and

existing by virtue of law with an office and principal place of business at 128 Dearborn St. Buffalo,

NY 14207 USA, and was and now is engaged in business as a common carrier of goods for hire and

issued bills of lading for carriage of cargo board the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.

       51.     At and during all times relevant hereto, third-party defendant Hanseatic Container

Lines, Ltd. was and now is a corporation or other business entity organized and existing by virtue of

law with an office and principal place of business at 333 Pierce Road, Itasca, Illinois 60143 and was

and now is engaged in business as a common carrier of goods for hire and issued bills of lading for

carriage of cargo board the Vessel including cargoes destined for ports along the East Coast of the

United States including but not limited to New York.



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       52.     At and during all times relevant hereto, third-party defendant Hanse Ocean Line Ltd.

was and now is a corporation or other business entity organized and existing by virtue of foreign law

with an office and principal place of business at 2nd Floor, 625 King’s Road, North Point, Hong

Kong S.A.R. China, and was and now is engaged in business as a common carrier of goods for hire

and issued bills of lading for carriage of cargo board the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.

       53.     At and during all times relevant hereto, third-party defendant Hellmann Worldwide

Logistics Inc. was and now is a corporation or other business entity organized and existing by virtue

of law with an office and principal place of business at 117 Sunfield Ave, Edison, NJ 08837 and was

and now is engaged in business as a common carrier of goods for hire and issued bills of lading for

carriage of cargo board the Vessel including cargoes destined for ports along the East Coast of the

United States including but not limited to New York.

       54.     At and during all times relevant hereto, third-party defendant Honour Lane Shipping

Ltd. was and now is a corporation or other business entity organized and existing by virtue of foreign

law with an office and principal place of business at Room 1501, 15/F, Nina Tower, Tower 2, 8

Yeung UK Road, Tsuen Wan, N.T. Hong Kong S.A.R. China, and was and now is engaged in

business as a common carrier of goods for hire and issued bills of lading for carriage of cargo board

the Vessel including cargoes destined for ports along the East Coast of the United States including

but not limited to New York.

       55.     At and during all times relevant hereto, third-party defendant Hyosung Trans World

Co. Ltd. was and now is a corporation or other business entity organized and existing by virtue of



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foreign law with an office and principal place of business at 3/F., Hyosung Harrington Square A,

Mapo-Daero, Mapo-Gu, Seoul 04168 South Korea, and was and now is engaged in business as a

common carrier of goods for hire and issued bills of lading for carriage of cargo board the Vessel

including cargoes destined for ports along the East Coast of the United States including but not

limited to New York.

       56.     At and during all times relevant hereto, third-party defendant Interglobo North

America, Inc. was and now is a corporation or other business entity organized and existing by virtue

of law with an office and principal place of business at 2 Colony Road, Jersey City, NJ 07305

USA,_and was and now is engaged in business as a common carrier of goods for hire and issued bills

of lading for carriage of cargo board the Vessel including cargoes destined for ports along the East

Coast of the United States including but not limited to New York.

       57.     At and during all times relevant hereto, third-party defendant Interport Global

Logistics Pvt Ltd. was and now is a corporation or other business entity organized and existing by

virtue of law with an office and principal place of business at 17 Cotters Lane, East Brunswick, NJ

08816 USA,_and was and now is engaged in business as a common carrier of goods for hire and

issued bills of lading for carriage of cargo board the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.

       58.     At and during all times relevant hereto, third-party defendant International

Cargotrans, Inc. was and now is a corporation or other business entity organized and existing by

virtue of law with an office and principal place of business at 9245 Laguna Springs Drive, Suite 200,

Elk Grove, CA 95758 USA, and was and now is engaged in business as a common carrier of goods



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for hire and issued bills of lading for carriage of cargo board the Vessel including cargoes destined

for ports along the East Coast of the United States including but not limited to New York.

       59.     At and during all times relevant hereto, third-party defendant James Worldwide, Inc.

was and now is a corporation or other business entity organized and existing by virtue of law with an

office and principal place of business at 18000 Studebaker Road, Cerritos, CA 90703 and was and

now is engaged in business as a common carrier of goods for hire and issued bills of lading for

carriage of cargo board the Vessel including cargoes destined for ports along the East Coast of the

United States including but not limited to New York.

       60.     At and during all times relevant hereto, third-party defendant Kintetsu World Express,

Inc. was and now is a corporation or other business entity organized and existing by virtue of law

with an office and principal place of business at One Jericho Plaza, Suite 100, Jericho, NY 11753

USA, and was and now is engaged in business as a common carrier of goods for hire and issued bills

of lading for carriage of cargo board the Vessel including cargoes destined for ports along the East

Coast of the United States including but not limited to New York.

       61.     At and during all times relevant hereto, third-party defendant KLN Container Line

Ltd. was and now is a corporation or other business entity organized and existing by virtue of

foreign law with an office and principal place of business at 16/F Kerry Cargo Centre, Kwai Chung,

N.T. Hong Kong S.A.R. China, and was and now is engaged in business as a common carrier of

goods for hire and issued bills of lading for carriage of cargo board the Vessel including cargoes

destined for ports along the East Coast of the United States including but not limited to New York.




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        62.    At and during all times relevant hereto, third-party defendant Kuehne & Nagel, Inc.

dba Blue Anchor Line and Blue Anchor America Line was and now is a corporation or other

business entity organized and existing by virtue of law with an office and principal place of business

at 10 Exchange Place, Jersey City, NY 07032 and was and now is engaged in business as a common

carrier of goods for hire and issued bills of lading for carriage of cargo board the Vessel including

cargoes destined for ports along the East Coast of the United States including but not limited to New

York.

        63.    At and during all times relevant hereto, third-party defendant LF Logistics (China)

Co. Ltd. was and now is a corporation or other business entity organized and existing by virtue of

foreign law with an office and principal place of business at 7/F, Li Fung Plaza, Tower 1, 2000

Yishan Road, Shanghai 201103 China, and was and now is engaged in business as a common carrier

of goods for hire and issued bills of lading for carriage of cargo board the Vessel including cargoes

destined for ports along the East Coast of the United States including but not limited to New York.

        64.    At and during all times relevant hereto, third-party Legend Cargo Logistics Company

Ltd. was and now is a corporation or other business entity organized and existing by virtue of foreign

law with an office and principal place of business at 5/F., Loc Phat Building, 68 Bach Dang St., Tan

Binh District, Ho Chi Minh City, Vietnam, _and was and now is engaged in business as a common

carrier of goods for hire and issued bills of lading for carriage of cargo board the Vessel including

cargoes destined for ports along the East Coast of the United States including but not limited to New

York.




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       65.     At and during all times relevant hereto, third-party defendant Matrix Freight Systems

Private Ltd. was and now is a corporation or other business entity organized and existing by virtue of

foreign law with an office and principal place of business at F-1210, LGF, Chittaranjan Park, New

Delhi 110019 India,_and was and now is engaged in business as a common carrier of goods for hire

and issued bills of lading for carriage of cargo board the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.

       66.     At and during all times relevant hereto, third-party defendant Mitsubishi Electric

Logistics Corp. was and now is a corporation or other business entity organized and existing by

virtue of foreign law with an office and principal place of business at 2-1-6, Sasazuka Shibuya-Ku,

Tokyo 151-0073 Japan,_and was and now is engaged in business as a common carrier of goods for

hire and issued bills of lading for carriage of cargo board the Vessel including cargoes destined for

ports along the East Coast of the United States including but not limited to New York.

       67.     At and during all times relevant hereto, third-party defendant MN Container Lines,

Inc. was and now is a corporation or other business entity organized and existing by virtue of law

with an office and principal place of business at 17100 Norwalk Blvd. Suite 103, Cerritos, CA 90703

USA,_and was and now is engaged in business as a common carrier of goods for hire and issued bills

of lading for carriage of cargo board the Vessel including cargoes destined for ports along the East

Coast of the United States including but not limited to New York.

       68.     At and during all times relevant hereto, third-party defendant M&M Transport

Services, Inc. as and now is a corporation or other business entity organized and existing by virtue of

law with an office and principal place of business at 129 W. Dudley Town Rd., Bloomfield, CT



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06002 USA,_and was and now is engaged in business as a common carrier of goods for hire and

issued bills of lading for carriage of cargo board the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.

        69.    At and during all times relevant hereto, third-party defendant Montane Shipping

Private Limited was and now is a corporation or other business entity organized and existing by

virtue of foreign law with an office and principal place of business at #180/64 Armenian Strret,

Catholic Centre, 11th Floor, Chennai-60001, Tamilnadu, India_and was and now is engaged in

business as a common carrier of goods for hire and issued bills of lading for carriage of cargo board

the Vessel including cargoes destined for ports along the East Coast of the United States including

but not limited to New York.

        70.    At and during all times relevant hereto, third-party defendant Nippon Concept Corp.

was and now is a corporation or other business entity organized and existing by virtue of foreign law

with an office and principal place of business at Fokoku Seimei Bldg, 8/F., 2-2 Uchisaiwaicho 2-

Chome, Chiyoda-Ku Tokyo 100-0011 Japan,_and was and now is engaged in business as a common

carrier of goods for hire and issued bills of lading for carriage of cargo board the Vessel including

cargoes destined for ports along the East Coast of the United States including but not limited to New

York.

        71.    At and during all times relevant hereto, third-party defendant Nippon Express Co.

Ltd. was and now is a corporation or other business entity organized and existing by virtue of foreign

law with an office and principal place of business at 1-9-3, Higashi-Shimbashi Minato-Ku Tokyo

105-8322 Japan, and was and now is engaged in business as a common carrier of goods for hire and



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issued bills of lading for carriage of cargo board the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.

       72.     At and during all times relevant hereto, third-party defendant Nippon Steel & Sumikin

Logistics Co. Ltd. was and now is a corporation or other business entity organized and existing by

virtue of foreign law with an office and principal place of business at 1-23-4 Shinkawa Chuo-Ku,

104-0033 Japan,_and was and now is engaged in business as a common carrier of goods for hire and

issued bills of lading for carriage of cargo board the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.

       73.     At and during all times relevant hereto, third-party defendant Ocean Navigator

Express Line Ltd. was and now is a corporation or other business entity organized and existing by

virtue of foreign law with an office and principal place of business at 7007-8 West Wing, Asia

Terminals Centre A Berth 3, Kwai Chung Container Terminal, Kwai Chung, N.T. Hong Kong

S.A.R. China,_and was and now is engaged in business as a common carrier of goods for hire and

issued bills of lading for carriage of cargo board the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.

       74.     At and during all times relevant hereto, third-party defendant OIA Global India Pvt

Ltd. was and now is a corporation or other business entity organized and existing by virtue of foreign

law with an office and principal place of business at 1 Unit No. 701 A-Wing 7th Floor, Sagar Texh

Plaza, Sakinaka Junction, Mumbai 400072 India,_and was and now is engaged in business as a

common carrier of goods for hire and issued bills of lading for carriage of cargo board the Vessel




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including cargoes destined for ports along the East Coast of the United States including but not

limited to New York.

       75.     At and during all times relevant hereto, third-party defendant Orient Express

Container Co. Ltd. was and now is a corporation or other business entity organized and existing by

virtue of foreign law with an office and principal place of business at 30 Decastro Road, Road Town,

Tortola, British Virgin Islands,_and was and now is engaged in business as a common carrier of

goods for hire and issued bills of lading for carriage of cargo board the Vessel including cargoes

destined for ports along the East Coast of the United States including but not limited to New York.

       76.     At and during all times relevant hereto, third-party defendant Pantainer (H.K.) Ltd.

was and now is a corporation or other business entity organized and existing by virtue of foreign law

with an office and principal place of business at 13011-13W 13/F ATL Logistics Centre B, Berth 3

Kwai Chung Container terminal N.T. Hong Kong SAR and was and now is engaged in business as a

common carrier of goods for hire and issued bills of lading for carriage of cargo board the Vessel

including cargoes destined for ports along the East Coast of the United States including but not

limited to New York.

       77.     At and during all times relevant hereto, third-party defendant Pinnacle International

Freight Forwarder, Inc. was and now is a corporation or other business entity organized and existing

by virtue of law with an office and principal place of business at 2700 Avenger Drive, Virginia

Beach, VA 23452 USA, and was and now is engaged in business as a common carrier of goods for

hire and issued bills of lading for carriage of cargo board the Vessel including cargoes destined for

ports along the East Coast of the United States including but not limited to New York.



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       78.     At and during all times relevant hereto, third-party defendant Pyramid Lines Ltd. was

and now is a corporation or other business entity organized and existing by virtue of foreign law with

an office and principal place of business at Level 54 Hopewell Centre, 183 Queens Road East, Hong

Kong S.A.R. China, and was and now is engaged in business as a common carrier of goods for hire

and issued bills of lading for carriage of cargo board the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.

       79.     At and during all times relevant hereto, third-party defendant Quality Express USA

Inc. was and now is a corporation or other business entity organized and existing by virtue of law

with an office and principal place of business at 179-17 149th Avenue Suite 200, Jamaica, NY 11434

USA,_and was and now is engaged in business as a common carrier of goods for hire and issued bills

of lading for carriage of cargo board the Vessel including cargoes destined for ports along the East

Coast of the United States including but not limited to New York.

       80.     At and during all times relevant hereto, third-party defendant Ritra Cargo Holland BV

was and now is a corporation or other business entity organized and existing by virtue of foreign law

with an office and principal place of business at Albert Plesmanweg 61C, Rotterdam 3088 GB

Netherlands,_and was and now is engaged in business as a common carrier of goods for hire and

issued bills of lading for carriage of cargo board the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.

       81.     At and during all times relevant hereto, third-party defendant Round-the-World

Logistics, Inc. was and now is a corporation or other business entity organized and existing by virtue

of law with an office and principal place of business at 333 Cantor Avenue, Linden NJ 07036 and



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was and now is engaged in business as a common carrier of goods for hire and issued bills of lading

for carriage of cargo board the Vessel including cargoes destined for ports along the East Coast of

the United States including but not limited to New York.

        82.    At and during all times relevant hereto, third-party defendant Airschott, Inc dba Sea

Schott was and now is a corporation or other business entity organized and existing by virtue of law

with an office and principal place of business at 2609 Cabover Drive, Bay #9, Hanover, MD 21076

and was and now is engaged in business as a common carrier of goods for hire and issued bills of

lading for carriage of cargo board the Vessel including cargoes destined for ports along the East

Coast of the United States including but not limited to New York.

        83.    At and during all times relevant hereto, third-party defendant SchenkerOcean Ltd was

and now is a corporation or other business entity organized and existing by virtue of foreign law with

an office and principal place of business at 21/F & 35/F., Skyline Tower, 29 Wang Kwong Road,

Kowloon Bay, FN Hong Kong S.A.R. China, and was and now is engaged in business as a common

carrier of goods for hire and issued bills of lading for carriage of cargo board the Vessel including

cargoes destined for ports along the East Coast of the United States including but not limited to New

York.

        84.    At and during all times relevant hereto, third-party defendant Agility Ltd. dba

Seaquest Line was and now is a corporation or other business entity organized and existing by virtue

of foreign law with an office and principal place of business at 11th Ruei Guang Rd. Neihu District,

Taipei, Taiwan 114 Republic of China,_and was and now is engaged in business as a common carrier




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of goods for hire and issued bills of lading for carriage of cargo board the Vessel including cargoes

destined for ports along the East Coast of the United States including but not limited to New York.

       85.     At and during all times relevant hereto, third-party defendant PT Savino del bene

(Indonesia) Ltd. was and now is a corporation or other business entity organized and existing by

virtue of foreign law with an office and principal place of business at Wisma A. Manunggal 20th

Floor, Jl. Jend G Subroto Kav 22, Jakarta, Seletan 12930 and was and now is engaged in business as

a common carrier of goods for hire and issued bills of lading for carriage of cargo board the Vessel

including cargoes destined for ports along the East Coast of the United States including but not

limited to New York.

       86.     At and during all times relevant hereto, third-party defendant Seagate Logistics Ltd.

was and now is a corporation or other business entity organized and existing by virtue of law with an

office and principal place of business at 64 North Cnetral Ave, Valley Stream, NY 11580 USA, and

was and now is engaged in business as a common carrier of goods for hire and issued bills of lading

for carriage of cargo board the Vessel including cargoes destined for ports along the East Coast of

the United States including but not limited to New York.

       87.     At and during all times relevant hereto, third-party defendant Seagold (Private) Ltd.

was and now is a corporation or other business entity organized and existing by virtue of foreign law

with an office and principal place of business at Suite 418-421, 4/F The Plaza, G-7, Clifton Block 9,

KDA Scheme 5, Karachi, Pakistan, and was and now is engaged in business as a common carrier of

goods for hire and issued bills of lading for carriage of cargo board the Vessel including cargoes

destined for ports along the East Coast of the United States including but not limited to New York.



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       88.     At and during all times relevant hereto, third-party defendant Seahorse Container

Lines Ltd. was and now is a corporation or other business entity organized and existing by virtue of

foreign law with an office and principal place of business at Flat/Room 6, 28/F., Trendy Centre, 682

Castle Peak Road, Lai Chi Kok, Kowloon, Hong Kong S.A.R. China,_and was and now is engaged

in business as a common carrier of goods for hire and issued bills of lading for carriage of cargo

board the Vessel including cargoes destined for ports along the East Coast of the United States

including but not limited to New York.

       89.     At and during all times relevant hereto, third-party defendant Sojitz Logistics Corp.

was and now is a corporation or other business entity organized and existing by virtue of foreign law

with an office and principal place of business at 2-1-1, Uchisaiwaicho Chiyoda-Ku, Tokyo 100-8691

Japan,_and was and now is engaged in business as a common carrier of goods for hire and issued

bills of lading for carriage of cargo board the Vessel including cargoes destined for ports along the

East Coast of the United States including but not limited to New York.

       90.     At and during all times relevant hereto, third-party defendant Sino Connections

Logistics Inc. was and now is a corporation or other business entity organized and existing by virtue

of foreign law with an office and principal place of business at Unit 1014, 10/F., Tower B, Hung

Hom Comm Center, 27-29 Ma Tau Wai Road, Hung Hom, Kowloon, Hong Kong S.A.R. China,_and

was and now is engaged in business as a common carrier of goods for hire and issued bills of lading

for carriage of cargo board the Vessel including cargoes destined for ports along the East Coast of

the United States including but not limited to New York.




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       91.     At and during all times relevant hereto, third-party defendant Shipco Transport, Inc.

was and now is a corporation or other business entity organized and existing by virtue of law with an

office and principal place of business at 699 Kapkowski Road, Elizabeth, NJ 07201 and was and

now is engaged in business as a common carrier of goods for hire and issued bills of lading for

carriage of cargo board the Vessel including cargoes destined for ports along the East Coast of the

United States including but not limited to New York.

       92.     At and during all times relevant hereto, third-party defendant Sumisho Global

Logistics (USA) Corp. was and now is a corporation or other business entity organized and existing

by virtue of law with an office and principal place of business at 1979 Marcus Ave. Suite 200, Lake

Success, NY 11042 USA,_and was and now is engaged in business as a common carrier of goods for

hire and issued bills of lading for carriage of cargo board the Vessel including cargoes destined for

ports along the East Coast of the United States including but not limited to New York.

       93.     At and during all times relevant hereto, third-party defendant Sunny International

Logistics, Inc. was and now is a corporation or other business entity organized and existing by virtue

of law with an office and principal place of business at 400 S. Atlantic Blvd, Suite 503, Monterey

Park, CA 91754 and was and now is engaged in business as a common carrier of goods for hire and

issued bills of lading for carriage of cargo board the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.

       94.     At and during all times relevant hereto, third-party defendant Sun Cargo Container

Line Ltd. was and now is a corporation or other business entity organized and existing by virtue of

foreign law with an office and principal place of business at 9/F., Continental Electric Industrial



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Bldg., No. 17 Wang Chiu Road, Kowloon Bay, Hong Kong S.A.R. China, and was and now is

engaged in business as a common carrier of goods for hire and issued bills of lading for carriage of

cargo board the Vessel including cargoes destined for ports along the East Coast of the United States

including but not limited to New York.

       95.     At and during all times relevant hereto, third-party defendant Super Cargo Service Co.

Ltd. was and now is a corporation or other business entity organized and existing by virtue of foreign

law with an office and principal place of business at 3G Pho Quang St. Ward 2, Tan Binh District,

Ho Chi Minh City, Vietnam, and was and now is engaged in business as a common carrier of goods

for hire and issued bills of lading for carriage of cargo board the Vessel including cargoes destined

for ports along the East Coast of the United States including but not limited to New York.

       96.     At and during all times relevant hereto, third-party defendant Swift Freight (USA)

Inc. was and now is a corporation or other business entity organized and existing by virtue of law

with an office and principal place of business at 11835 E. Smith Ave, Santa Fe Springs, CA

90670_and was and now is engaged in business as a common carrier of goods for hire and issued

bills of lading for carriage of cargo board the Vessel including cargoes destined for ports along the

East Coast of the United States including but not limited to New York.

       97.     At and during all times relevant hereto, third-party defendant Teamglobal Logistics

Pvt Ltd. was and now is a corporation or other business entity organized and existing by virtue of

foreign law with an office and principal place of business at Times Square, A Wing 7th Floor, Kurla

Road, Andheri East, Mumbai, Maharashtra 400059, India and was and now is engaged in business as

a common carrier of goods for hire and issued bills of lading for carriage of cargo board the Vessel



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including cargoes destined for ports along the East Coast of the United States including but not

limited to New York.

         98.    At and during all times relevant hereto, third-party defendant TopOcean

Consolidation Services (Los Angeles) Inc. was and now is a corporation or other business entity

organized and existing by virtue of law with an office and principal place of business at 2727

Workman Mill Rd., City of Industry, CA 90601 USA,_and was and now is engaged in business as a

common carrier of goods for hire and issued bills of lading for carriage of cargo board the Vessel

including cargoes destined for ports along the East Coast of the United States including but not

limited to New York.

         99.    At and during all times relevant hereto, third-party defendant Transcontainer (USA)

Inc. was and now is a corporation or other business entity organized and existing by virtue of law

with an office and principal place of business at 1 Pierce Place, Suite 225E, Itasca, IL 60143

USA,_and was and now is engaged in business as a common carrier of goods for hire and issued bills

of lading for carriage of cargo board the Vessel including cargoes destined for ports along the East

Coast of the United States including but not limited to New York.

         100.   At and during all times relevant hereto, third-party defendant Transcontainer Ltd. was

and now is a corporation or other business entity organized and existing by virtue of law with an

office    and   principal    place    of   business     at   300    Merrick     Road     Suite    308

Lynbrook, NY 11563 and was and now is engaged in business as a common carrier of goods for hire

and issued bills of lading for carriage of cargo board the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.



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       101.    At and during all times relevant hereto, third-party defendant Transfreight Express

Line Ltd. was and now is a corporation or other business entity organized and existing by virtue of

law with an office and principal place of business at 2792 Nationwide Parkway 14-20, Brunswick,

OH 44212 USA,_and was and now is engaged in business as a common carrier of goods for hire and

issued bills of lading for carriage of cargo board the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.

       102.    At and during all times relevant hereto, third-party defendant UPS Asia Group Pte.

Ltd. was and now is a corporation or other business entity organized and existing by virtue of foreign

law with an office and principal place of business at 22 Changi South Avenue 2, #06-00, UPS

House, Singapore 486064 Singapore,_and was and now is engaged in business as a common carrier

of goods for hire and issued bills of lading for carriage of cargo board the Vessel including cargoes

destined for ports along the East Coast of the United States including but not limited to New York.

       103.    At and during all times relevant hereto, third-party defendant VTG Tanktainer GmbH

was and now is a corporation or other business entity organized and existing by virtue of foreign law

with an office and principal place of business at Hammerbrookstrasse 5, 20097 Hamburg and was

and now is engaged in business as a common carrier of goods for hire and issued bills of lading for

carriage of cargo board the Vessel including cargoes destined for ports along the East Coast of the

United States including but not limited to New York.

       104.    At and during all times relevant hereto, third-party defendant Worldwide Express, Inc.

was and now is a corporation or other business entity organized and existing by virtue of law with an

office and principal place of business at 70 Jansen Avenue, Suite 202, Essington, PA 19029 and was



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and now is engaged in business as a common carrier of goods for hire and issued bills of lading for

carriage of cargo board the Vessel including cargoes destined for ports along the East Coast of the

United States including but not limited to New York.

       105.    At and during all times relevant hereto, third-party defendant Worldwide Logistics

(India) Pvt Ltd. was and now is a corporation or other business entity organized and existing by

virtue of foreign law with an office and principal place of business at Worldwide House, No. 12,

VGP Murphy Square, 1 Cross Street, St. Thomas Mount Chennai 600016 India,_and was and now is

engaged in business as a common carrier of goods for hire and issued bills of lading for carriage of

cargo board the Vessel including cargoes destined for ports along the East Coast of the United States

including but not limited to New York.

       106.    At and during all times relevant hereto, third-party defendant Yusen Logistics Co.

Ltd. was and now is a corporation or other business entity organized and existing by virtue of foreign

law with an office and principal place of business at Sumitomo Fudosan, Shinagawa Building, 4-10-

27, Higashi Shinagawa, Shinagawa-Ku, Tokyo 140-0002 Japan, and was and now is engaged in

business as a common carrier of goods for hire and issued bills of lading for carriage of cargo board

the Vessel including cargoes destined for ports along the East Coast of the United States including

but not limited to New York.

       107.    At and during all times relevant hereto, third-party defendant A2Z Logistics India Pvt

Ltd. was and now is a corporation or other business entity organized and existing by virtue of foreign

law with an office and principal place of business at No. 16 MMTC Colony 2nd Main Rd.

Nanganallur, Chennai Tamil Nadur 600061 India, and was and now is engaged in business as a



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common carrier of goods for hire and issued bills of lading for carriage of cargo board the Vessel

including cargoes destined for ports along the East Coast of the United States including but not

limited to New York.

       108.    At and during all times relevant hereto, third-party defendant Advantis Freight Pvt.

Ltd. was and now is a corporation or other business entity organized and existing by virtue of foreign

law with an office and principal place of business at 400 Thurburn Wing, Deans Road, Colombo

01000 Sri Lanka, and was and now is engaged in business as a common carrier of goods for hire and

issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.

       109.    At and during all times relevant hereto, third-party defendant Airlift U.S.A. Inc. was

and now is a corporation or other business entity organized and existing by virtue of New York law

with an office and principal place of business at 11099 S. La Cienega Blvd. Suite 151 Los Angeles,

CA 90045, and was and now is engaged in business as a common carrier of goods for hire and issued

bills of lading for carriage of cargo aboard the Vessel including cargoes destined for ports along the

East Coast of the United States including but not limited to New York.

       110.    At and during all times relevant hereto, third-party defendant Albatross Logistics Pvt.

Ltd. was and now is a corporation or other business entity organized and existing by virtue of foreign

law with an office and principal place of business at No-9, Basement Floor, Port Agents, Freight

Forwarders Ceebros Centre No-45, Montieth Road, Egmore, Chennai Tamil Nadu 600008 India, and

was and now is engaged in business as a common carrier of goods for hire and issued bills of lading




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for carriage of cargo aboard the Vessel including cargoes destined for ports along the East Coast of

the United States including but not limited to New York.

       111.    At and during all times relevant hereto, third-party defendant All World Shipping

Corp. was and now is a corporation or other business entity organized and existing by virtue of

Florida law with an office and principal place of business at 550 North Reo Street, Suite 300 Tampa,

Florida 33609, and was and now is engaged in business as a common carrier of goods for hire and

issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.

       112.    At and during all times relevant hereto, third-party defendant American Global

Logistics LLC was and now is a corporation or other business entity organized and existing by virtue

of Georgia with an office and principal place of business at 3399 Peachtree Rd. NE Atlanta, GA

30326, and was and now is engaged in business as a common carrier of goods for hire and issued

bills of lading for carriage of cargo aboard the Vessel including cargoes destined for ports along the

East Coast of the United States including but not limited to New York.

       113.    At and during all times relevant hereto, third-party defendant AO Container Lines Inc.

was and now is a corporation or other business entity organized and existing by virtue of California

law with an office and principal place of business at 421 North Oak St. Inglewood, CA 90302, and

was and now is engaged in business as a common carrier of goods for hire and issued bills of lading

for carriage of cargo aboard the Vessel including cargoes destined for ports along the East Coast of

the United States including but not limited to New York.




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        114.   At and during all times relevant hereto, third-party defendant APL Logistics Ltd. was

and now is a corporation or other business entity organized and existing by virtue of foreign law with

an office and principal place of business at 1085 Morris Ave. #7, Union NJ 07083, and was and now

is engaged in business as a common carrier of goods for hire and issued bills of lading for carriage of

cargo aboard the Vessel including cargoes destined for ports along the East Coast of the United

States including but not limited to New York.

        115.   At and during all times relevant hereto, third-party defendant Ark Shipping Line Inc.

was and now is a corporation or other business entity organized and existing by virtue of foreign law

with an office and principal place of business at 371 Hoes Lane Suite 200, Piscataway NJ 08854, and

was and now is engaged in business as a common carrier of goods for hire and issued bills of lading

for carriage of cargo aboard the Vessel including cargoes destined for ports along the East Coast of

the United States including but not limited to New York.

        116.   At and during all times relevant hereto, third-party defendant Asia Pacific Logistics

Co. Ltd. was and now is a corporation or other business entity organized and existing by virtue of

foreign law with an office and principal place of business at 1/F No. 41 Lane 145, Duhua North

Road, Songshan District, Taipei 105 Taiwan, and was and now is engaged in business as a common

carrier of goods for hire and issued bills of lading for carriage of cargo aboard the Vessel including

cargoes destined for ports along the East Coast of the United States including but not limited to New

York.

        117.   At and during all times relevant hereto, third-party defendant Associated Container

Line Pvt. Ltd. was and now is a corporation or other business entity organized and existing by virtue



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of foreign law with an office and principal place of business at Office No. 202, White House, 1482

Sadashiv Peth, Opposite Tilak Smarak Mandir, Sadashiv Pet, Pune Maharashtra 411030 India , and

was and now is engaged in business as a common carrier of goods for hire and issued bills of lading

for carriage of cargo aboard the Vessel including cargoes destined for ports along the East Coast of

the United States including but not limited to New York.

       118.    At and during all times relevant hereto, third-party defendant ATA Freight Line, Ltd.

was and now is a corporation or other business entity organized and existing by virtue of New York

law with an office and principal place of business at 400 Garden City Plaza, Suite 404, Garden City,

NY 11530, and was and now is engaged in business as a common carrier of goods for hire and issued

bills of lading for carriage of cargo aboard the Vessel including cargoes destined for ports along the

East Coast of the United States including but not limited to New York.

       119.    At and during all times relevant hereto, third-party defendant Binex line Corp. was

and now is a corporation or other business entity organized and existing by virtue of California with

an office and principal place of business at 19515 S. Vermont Ave. Torrence, CA 90502, and was

and now is engaged in business as a common carrier of goods for hire and issued bills of lading for

carriage of cargo aboard the Vessel including cargoes destined for ports along the East Coast of the

United States including but not limited to New York.

       120.    At and during all times relevant hereto, third-party defendant Blue Sky Blue Sea Inc.

was and now is a corporation or other business entity organized and existing by virtue of California

with an office and principal place of business at 13500 S. Figueroa St. Los Angeles, CA 90061, and

was and now is engaged in business as a common carrier of goods for hire and issued bills of lading



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for carriage of cargo aboard the Vessel including cargoes destined for ports along the East Coast of

the United States including but not limited to New York.

       121.    At and during all times relevant hereto, third-party defendant BNSF Logistics Ocean

Line Inc. was and now is a corporation or other business entity organized and existing by virtue of

Texas law with an office and principal place of business at 1600 Lakeside Parkway, Suite 100

Flower Mound, TX 75028 and was and now is engaged in business as a common carrier of goods for

hire and issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined for

ports along the East Coast of the United States including but not limited to New York.

       122.    At and during all times relevant hereto, third-party defendant Car Go Worldwide Inc.

was and now is a corporation or other business entity organized and existing by virtue of California

law with an office and principal place of business at 172 E. Manville St. Compton, CA 90220, and

was and now is engaged in business as a common carrier of goods for hire and issued bills of lading

for carriage of cargo aboard the Vessel including cargoes destined for ports along the East Coast of

the United States including but not limited to New York.

       123.    At and during all times relevant hereto, third-party defendant Cargo Consol India Pvt.

Ltd was and now is a corporation or other business entity organized and existing by virtue of foreign

law with an office and principal place of business at 4th Floor, Chennai City Centre, Unit No. A2, 10

& 11 Dr. Radhakrishnan Salai, Mylapore Chennai 600004 India, and was and now is engaged in

business as a common carrier of goods for hire and issued bills of lading for carriage of cargo aboard

the Vessel including cargoes destined for ports along the East Coast of the United States including

but not limited to New York.



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       124.    At and during all times relevant hereto, third-party defendant Caronex Worldwide,

Inc. was and now is a corporation or other business entity organized and existing by virtue of

California law with an office and principal place of business at 6301 Beach Blvd Suite 227, Buena

Park, CA 90621, and was and now is engaged in business as a common carrier of goods for hire and

issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.

       125.    At and during all times relevant hereto, third-party defendant Choice Trading

Corporation Pvt. Ltd. d/b/a Choice Shipping Lines was and now is a corporation or other business

entity organized and existing by virtue of foreign law with an office and principal place of business

at Choice House, P.V. Sreedharan Road, Kumbalam, Ernakulam, Kerala 682506 India, and was and

now is engaged in business as a common carrier of goods for hire and issued bills of lading for

carriage of cargo aboard the Vessel including cargoes destined for ports along the East Coast of the

United States including but not limited to New York.

       126.    At and during all times relevant hereto, third-party defendant CJC Logistics LLC was

and now is a corporation or other business entity organized and existing by virtue of Florida law with

an office and principal place of business at 710 Oakfield Drive Suite 265, Brandon, FL 33511, and

was and now is engaged in business as a common carrier of goods for hire and issued bills of lading

for carriage of cargo aboard the Vessel including cargoes destined for ports along the East Coast of

the United States including but not limited to New York.

       127.    At and during all times relevant hereto, third-party defendant Cloud Ocean Line, Ltd.

was and now is a corporation or other business entity organized and existing by virtue of foreign law



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with an office and principal place of business at Units 1701 & 1703, 17/F Tower 1, Enterprise

Square, 9 Sheung Yuet Road, Kowloon Bay, Kowloon, Hong Kong S.A.R. China, and was and now

is engaged in business as a common carrier of goods for hire and issued bills of lading for carriage of

cargo aboard the Vessel including cargoes destined for ports along the East Coast of the United

States including but not limited to New York.

       128.    At and during all times relevant hereto, third-party defendant CL Synergy Pvt. Ltd.

d/b/a CLS Lines was and now is a corporation or other business entity organized and existing by

virtue of foreign law with an office and principal place of business at No. 30, 6th Fl. R.A. De Mel

Mawatha, Colombo 03 Sri Lanka, and was and now is engaged in business as a common carrier of

goods for hire and issued bills of lading for carriage of cargo aboard the Vessel including cargoes

destined for ports along the East Coast of the United States including but not limited to New York.

       129.    At and during all times relevant hereto, third-party defendant Cohesion Freight (HK)

Ltd. d/b/a Cohesion Freight Worldwide was and now is a corporation or other business entity

organized and existing by virtue of foreign law with an office and principal place of business at Unit

A2, 8/F Sunshine Kowloon Bay Cargo Centre, 59 Tai Yip St. Kowloon Bay, Kowloon, Hong Kong

S.A.R. China, and was and now is engaged in business as a common carrier of goods for hire and

issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.

       130.    At and during all times relevant hereto, third-party defendant Collyer Logistics

International Ltd. d/b/a Collyer Container Line was and now is a corporation or other business entity

organized and existing by virtue of foreign law with an office and principal place of business at Rm.



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1806-1807 18/F Ever gain Plaza Tower 1, 88 Container Port Road, Kwai Tsing, Hong Kong S.A.R.

China, and was and now is engaged in business as a common carrier of goods for hire and issued

bills of lading for carriage of cargo aboard the Vessel including cargoes destined for ports along the

East Coast of the United States including but not limited to New York.

       131.    At and during all times relevant hereto, third-party defendant Consoltainer Line

Transport GmbH was and now is a corporation or other business entity organized and existing by

virtue of foreign law with an office and principal place of business at Airportstrasse A-2401

Fischamend. Austria, and was and now is engaged in business as a common carrier of goods for hire

and issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.

       132.    At and during all times relevant hereto, third-party defendant DHL International

GmbH was and now is a corporation or other business entity organized and existing by virtue of

foreign law with an office and principal place of business at Charles De Gaulle Str. 20 53113 Bonn,

Nordrhein-Westfalen Germany, and was and now is engaged in business as a common carrier of

goods for hire and issued bills of lading for carriage of cargo aboard the Vessel including cargoes

destined for ports along the East Coast of the United States including but not limited to New York.

       133.    At and during all times relevant hereto, third-party defendant Dolphin Logistics Co.

Ltd. was and now is a corporation or other business entity organized and existing by virtue of foreign

law with an office and principal place of business at No. 308, SEC. 2, Bade Rd. Zhongshan Dist.,

Taipei Taiwan, and was and now is engaged in business as a common carrier of goods for hire and




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issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.

       134.    At and during all times relevant hereto, third-party defendant Domek Logistics LLC

was and now is a corporation or other business entity organized and existing by virtue of Illinois law

with an office and principal place of business at 265 Exchange Dr. Suite 206, Crystal Lake, IL

60014, and was and now is engaged in business as a common carrier of goods for hire and issued

bills of lading for carriage of cargo aboard the Vessel including cargoes destined for ports along the

East Coast of the United States including but not limited to New York.

       135.    At and during all times relevant hereto, third-party defendant Draft Cargoways India

Pvt. Ltd. was and now is a corporation or other business entity organized and existing by virtue of

foreign law with an office and principal place of business at New No. 31. Moore St. Chennai 600001

India, and was and now is engaged in business as a common carrier of goods for hire and issued bills

of lading for carriage of cargo aboard the Vessel including cargoes destined for ports along the East

Coast of the United States including but not limited to New York.

       136.    At and during all times relevant hereto, third-party defendant Flexport International

LLC was and now is a corporation or other business entity organized and existing by virtue of

Delaware law with an office and principal place of business at 760 Market St. 8th Fl. San Francisco,

CA 94102, and was and now is engaged in business as a common carrier of goods for hire and issued

bills of lading for carriage of cargo aboard the Vessel including cargoes destined for ports along the

East Coast of the United States including but not limited to New York.




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       137.    At and during all times relevant hereto, third-party defendant Flyjac Logistics Pvt.

Ltd. was and now is a corporation or other business entity organized and existing by virtue of foreign

law with an office and principal place of business at No. 25-32 Readymade Garment Complex,

SIDCO Industrial Estate, Guindy Chennai 600032 India, and was and now is engaged in business as

a common carrier of goods for hire and issued bills of lading for carriage of cargo aboard the Vessel

including cargoes destined for ports along the East Coast of the United States including but not

limited to New York.

       138.    At and during all times relevant hereto, third-party defendant GFG Corp. USA was

and now is a corporation or other business entity organized and existing by virtue of New York law

with an office and principal place of business at 2574 West 16th St. #1C, Brooklyn, NY 11214, and

was and now is engaged in business as a common carrier of goods for hire and issued bills of lading

for carriage of cargo aboard the Vessel including cargoes destined for ports along the East Coast of

the United States including but not limited to New York.

       139.    At and during all times relevant hereto, third-party defendant GLC Ocean Lines Ltd.

was and now is a corporation or other business entity organized and existing by virtue of foreign law

with an office and principal place of business at 1156 Cecil St. 11-02/03 Far East Bank Building,

Singapore 069544 Singapore, and was and now is engaged in business as a common carrier of goods

for hire and issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined

for ports along the East Coast of the United States including but not limited to New York.

       140.    At and during all times relevant hereto, third-party defendant Hecny Transportation

Inc. was and now is a corporation or other business entity organized and existing by virtue of



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California law with an office and principal place of business at 150 North Hill Drive, Suite 1,

Brisbane, CA 94005, and was and now is engaged in business as a common carrier of goods for hire

and issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.

       141.    At and during all times relevant hereto, third-party defendant HTL Logistics India Pvt.

Ltd. was and now is a corporation or other business entity organized and existing by virtue of foreign

law with an office and principal place of business at Trifecta Adatto Building, 13th Fl. ITPL Main

Road, Garudachar Palya, Mahadevapura, Bengaluru, Karnataka 560048 India, and was and now is

engaged in business as a common carrier of goods for hire and issued bills of lading for carriage of

cargo aboard the Vessel including cargoes destined for ports along the East Coast of the United

States including but not limited to New York.

       142.    At and during all times relevant hereto, third-party defendant Kamigumi Co. Ltd. was

and now is a corporation or other business entity organized and existing by virtue of foreign law with

an office and principal place of business at 4-1-11 Hamabe-dori, Chuo-ku, Kobe, Hyogo Japan., and

was and now is engaged in business as a common carrier of goods for hire and issued bills of lading

for carriage of cargo aboard the Vessel including cargoes destined for ports along the East Coast of

the United States including but not limited to New York.

       143.    At and during all times relevant hereto, third-party defendant LGS Logistics Inc. was

and now is a corporation or other business entity organized and existing by virtue of California law

with an office and principal place of business at 1707 East Del Amo Blvd. Carson, CA 90746, and

was and now is engaged in business as a common carrier of goods for hire and issued bills of lading



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for carriage of cargo aboard the Vessel including cargoes destined for ports along the East Coast of

the United States including but not limited to New York.

       144.    At and during all times relevant hereto, third-party defendant Logistics Plus, Inc. was

and now is a corporation or other business entity organized and existing by virtue of Pennsylvania

law with an office and principal place of business at 1406 Peach St. Erie, PA 16501, and was and

now is engaged in business as a common carrier of goods for hire and issued bills of lading for

carriage of cargo aboard the Vessel including cargoes destined for ports along the East Coast of the

United States including but not limited to New York.

       145.    At and during all times relevant hereto, third-party defendant Lords Freight (India)

Pvt. Ltd. was and now is a corporation or other business entity organized and existing by virtue of

foreign law with an office and principal place of business at Shree Park Building, 578 Mayor Sundar

Rao Rd. Teynampet, Thiru Vi Ka, Kudiyiruppu, Teynampet, Chennai, Tamil Nadu 600006 India, and

was and now is engaged in business as a common carrier of goods for hire and issued bills of lading

for carriage of cargo aboard the Vessel including cargoes destined for ports along the East Coast of

the United States including but not limited to New York.

       146.    At and during all times relevant hereto, third-party defendant M & R Logistics (India)

Pvt. Ltd. was and now is a corporation or other business entity organized and existing by virtue of

foreign law with an office and principal place of business at 3rd Fl. 56/57, Rajaji, Salai Chennai

600001 India, and was and now is engaged in business as a common carrier of goods for hire and

issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.



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       147.    At and during all times relevant hereto, third-party defendant Max IGL, Inc. was and

now is a corporation or other business entity organized and existing by virtue of California law with

an office and principal place of business at 1250 W. Artesia Blvd. Compton, CA 90220, and was and

now is engaged in business as a common carrier of goods for hire and issued bills of lading for

carriage of cargo aboard the Vessel including cargoes destined for ports along the East Coast of the

United States including but not limited to New York.

       148.    At and during all times relevant hereto, third-party defendant OOCL Logistics Line

Ltd. was and now is a corporation or other business entity organized and existing by virtue of foreign

law with an office and principal place of business at 31/F Harbour Centre, 25 Harbour Road,

Wanchai, Hong Kong S.A.R. China, and was and now is engaged in business as a common carrier of

goods for hire and issued bills of lading for carriage of cargo aboard the Vessel including cargoes

destined for ports along the East Coast of the United States including but not limited to New York.

       149.    At and during all times relevant hereto, third-party defendant Pelorus Ocean Line Ltd.

was and now is a corporation or other business entity organized and existing by virtue of foreign law

with an office and principal place of business at Room 812, Silvercord Tower 1, 30 Canton Road,

Tsimshatsui, Kowloon Hong Kong S.A.R. China, and was and now is engaged in business as a

common carrier of goods for hire and issued bills of lading for carriage of cargo aboard the Vessel

including cargoes destined for ports along the East Coast of the United States including but not

limited to New York.

       150.    At and during all times relevant hereto, third-party defendant PCL Co. Ltd. S.A. d/b/a

Penanshin Container Line was and now is a corporation or other business entity organized and



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existing by virtue of foreign law with an office and principal place of business at Dresdner Tower, 5th

Fl., 50th and 55th St., Panama City, Panama, and was and now is engaged in business as a common

carrier of goods for hire and issued bills of lading for carriage of cargo aboard the Vessel including

cargoes destined for ports along the East Coast of the United States including but not limited to New

York.

        151.   At and during all times relevant hereto, third-party defendant Quingdao Kaoyoung

International Logistics Co. Ltd. was and now is a corporation or other business entity organized and

existing by virtue of foreign law with an office and principal place of business at Room 1004 and

1002 10/F Flat B, Futai Building, No. 18, Hong Kong (M) Rd. Shinan District, Quingdao, Shandong

266071 China, and was and now is engaged in business as a common carrier of goods for hire and

issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.

        152.   At and during all times relevant hereto, third-party defendant Renus Logistics Pte. Ltd

was and now is a corporation or other business entity organized and existing by virtue of foreign law

with an office and principal place of business at 10 Anson Rd. International Plaza Singapore 079903

Singapore, and was and now is engaged in business as a common carrier of goods for hire and issued

bills of lading for carriage of cargo aboard the Vessel including cargoes destined for ports along the

East Coast of the United States including but not limited to New York.

        153.   At and during all times relevant hereto, third-party defendant Rohlig USA LLC was

and now is a corporation or other business entity organized and existing by virtue of Delaware law

with an office and principal place of business at 20 Commerce Dr. Suite 250, Cranford, NJ 07016,



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and was and now is engaged in business as a common carrier of goods for hire and issued bills of

lading for carriage of cargo aboard the Vessel including cargoes destined for ports along the East

Coast of the United States including but not limited to New York.

       154.    At and during all times relevant hereto, third-party defendant SAR Transport Systems

Pvt. Ltd. was and now is a corporation or other business entity organized and existing by virtue of

foreign law with an office and principal place of business at Gold Crest Business Park, 908-914 9th

Fl. L.B.S. Marg, Ghatkopar West, Mubai 400086 India, and was and now is engaged in business as a

common carrier of goods for hire and issued bills of lading for carriage of cargo aboard the Vessel

including cargoes destined for ports along the East Coast of the United States including but not

limited to New York.

       155.    At and during all times relevant hereto, third-party defendant SDS Trans, Inc. was and

now is a corporation or other business entity organized and existing by virtue of New York law with

an office and principal place of business at 14538 157th St., Jamaica, NY 11434, and was and now is

engaged in business as a common carrier of goods for hire and issued bills of lading for carriage of

cargo aboard the Vessel including cargoes destined for ports along the East Coast of the United

States including but not limited to New York.

       156.    At and during all times relevant hereto, third-party defendant Soma Universal

Logistics Pvt. Ltd. was and now is a corporation or other business entity organized and existing by

virtue of foreign law with an office and principal place of business at Office No. 12, Ground Floor,

Trade Center, Plot No. 46, Sector 8, Gandhidham Gujarat 370201 India, and was and now is engaged

in business as a common carrier of goods for hire and issued bills of lading for carriage of cargo



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aboard the Vessel including cargoes destined for ports along the East Coast of the United States

including but not limited to New York.

       157.    At and during all times relevant hereto, third-party defendant Sprint Global Inc. was

and now is a corporation or other business entity organized and existing by virtue of North Carolina

law with an office and principal place of business at 3731 NW Cary Parkway, Cary, NC 27531, and

was and now is engaged in business as a common carrier of goods for hire and issued bills of lading

for carriage of cargo aboard the Vessel including cargoes destined for ports along the East Coast of

the United States including but not limited to New York.

       158.    At and during all times relevant hereto, third-party defendant Toll Global Forwarding

(Hong Kong) Ltd. was and now is a corporation or other business entity organized and existing by

virtue of foreign law with an office and principal place of business at 14/F Ever Gain Plaza Tower 1,

88 Container Port Road, Kwai Chung, Hong Kong S.A.R. China, and was and now is engaged in

business as a common carrier of goods for hire and issued bills of lading for carriage of cargo aboard

the Vessel including cargoes destined for ports along the East Coast of the United States including

but not limited to New York.

       159.    At and during all times relevant hereto, third-party defendant Total Transport Systems

Ltd. was and now is a corporation or other business entity organized and existing by virtue of foreign

law with an office and principal place of business at 7th Fl. Times Square, Opposite Chandivali Petrol

Pump, Sakinaka, Andheri (E) Mumbai 400072 India, and was and now is engaged in business as a

common carrier of goods for hire and issued bills of lading for carriage of cargo aboard the Vessel




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including cargoes destined for ports along the East Coast of the United States including but not

limited to New York.

       160.    At and during all times relevant hereto, third-party defendant Transpac Cargo Line

Ltd. was and now is a corporation or other business entity organized and existing by virtue of foreign

law with an office and principal place of business at 25/F Evergo House, 38 Gloucester Road,

Wanchai, Hong Kong S.A.R. China, and was and now is engaged in business as a common carrier of

goods for hire and issued bills of lading for carriage of cargo aboard the Vessel including cargoes

destined for ports along the East Coast of the United States including but not limited to New York.

       161.    At and during all times relevant hereto, third-party defendant Transport Team

Worldwide Ltd. was and now is a corporation or other business entity organized and existing by

virtue of foreign law with an office and principal place of business at 4th Floor, Rupayan Golden

Age, 99 Gulshan Ave. Dhaka 1212 Bangladesh, and was and now is engaged in business as a

common carrier of goods for hire and issued bills of lading for carriage of cargo aboard the Vessel

including cargoes destined for ports along the East Coast of the United States including but not

limited to New York.

       162.    At and during all times relevant hereto, third-party defendant Triumph Link Logistics

Ltd. was and now is a corporation or other business entity organized and existing by virtue of

California law with an office and principal place of business at 2415 S. Sierra Dr. Compton, CA

90220, and was and now is engaged in business as a common carrier of goods for hire and issued

bills of lading for carriage of cargo aboard the Vessel including cargoes destined for ports along the

East Coast of the United States including but not limited to New York.



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       163.    At and during all times relevant hereto, third-party defendant Trust Freight Services,

Inc. was and now is a corporation or other business entity organized and existing by virtue of New

York law with an office and principal place of business at 150-130 132nd Ave. Jamaica, NY 11434,

and was and now is engaged in business as a common carrier of goods for hire and issued bills of

lading for carriage of cargo aboard the Vessel including cargoes destined for ports along the East

Coast of the United States including but not limited to New York.

       164.    At and during all times relevant hereto, third-party defendant TT Ocean Logistics

LLC was and now is a corporation or other business entity organized and existing by virtue of

Florida law with an office and principal place of business at 10201 NW 112th Ave. Miami, FL 33178,

and was and now is engaged in business as a common carrier of goods for hire and issued bills of

lading for carriage of cargo aboard the Vessel including cargoes destined for ports along the East

Coast of the United States including but not limited to New York.

       165.    At and during all times relevant hereto, third-party defendant United Cargo

Management, Inc. was and now is a corporation or other business entity organized and existing by

virtue of California law with an office and principal place of business at 19401 S. Main Street #202

Gardena, CA 90248, and was and now is engaged in business as a common carrier of goods for hire

and issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.

       166.    At and during all times relevant hereto, third-party defendant Uniworld Logistics Pvt.

Ltd. was and now is a corporation or other business entity organized and existing by virtue of foreign

law with an office and principal place of business at 225 S.T. Bed Extension 5th Main, 4th Block,



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Koramangala, Bangalore Karnataka 560034 India, and was and now is engaged in business as a

common carrier of goods for hire and issued bills of lading for carriage of cargo aboard the Vessel

including cargoes destined for ports along the East Coast of the United States including but not

limited to New York.

       167.    At and during all times relevant hereto, third-party defendant Vantech HTS

Forwarding, Ltd. was and now is a corporation or other business entity organized and existing by

virtue of foreign law with an office and principal place of business at 1-8-10 Harumi Chuo-ku,

Tokyo 104-6027 Japan, and was and now is engaged in business as a common carrier of goods for

hire and issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined for

ports along the East Coast of the United States including but not limited to New York.

       168.    At and during all times relevant hereto, third-party defendant WAC Logistics Ltd. was

and now is a corporation or other business entity organized and existing by virtue of foreign law with

an office and principal place of business at Safura Tower 7th Fl. 20 Kamal Ataturk Ave. Banani C/A,

Dhaka-1213 Bangladesh, and was and now is engaged in business as a common carrier of goods for

hire and issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined for

ports along the East Coast of the United States including but not limited to New York.

       169.    At and during all times relevant hereto, third-party defendant Omnitrans Inc. was and

now is a corporation or other business entity organized and existing by virtue of foreign law with an

office and principal place of business at 4300 Jean-Talon West, Montreal, QC H4P 1W3 Canada,

and was and now is engaged in business as a common carrier of goods for hire and issued bills of




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lading for carriage of cargo aboard the Vessel including cargoes destined for ports along the East

Coast of the United States including but not limited to New York.

       170.    At and during all times relevant hereto, third-party defendant PT. Timoda Logistics

was and now is a corporation or other business entity organized and existing by virtue of foreign law

with an office and principal place of business at Jalan Madukoro Raya Semarang Indah, Office

Building Block DXI No. 3, Tawangmas, West Semarang, Semarang, Central Java 50144 Indonesia,

and was and now is engaged in business as a common carrier of goods for hire and issued bills of

lading for carriage of cargo aboard the Vessel including cargoes destined for ports along the East

Coast of the United States including but not limited to New York.

       171.    At and during all times relevant hereto, third-party defendant Honour Lane Logistics

Co. Ltd. was and now is a corporation or other business entity organized and existing by virtue of

foreign law with an office and principal place of business at 4th Fl. CCT Building, 109 Surawong Rd.

Suriyawong Bangrak, Bankok 10500 Thailand, and was and now is engaged in business as a

common carrier of goods for hire and issued bills of lading for carriage of cargo aboard the Vessel

including cargoes destined for ports along the East Coast of the United States including but not

limited to New York.

       172.    At and during all times relevant hereto, third-party defendant Toll Global

Forwarding (India) Pvt. Ltd. was and now is a corporation or other business entity organized and

existing by virtue of foreign law with an office and principal place of business at The Qube, A

Wing, 803 M V Road, Marol Pipeline-andheri East, Mumbai 400059 India, and was and now is

engaged in business as a common carrier of goods for hire and issued bills of lading for carriage



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of cargo aboard the Vessel including cargoes destined for ports along the East Coast of the

United States including but not limited to New York.

       173.    At and during all times relevant hereto, third-party defendant Nissin International

Transport U.S.A. Inc. was and now is a corporation or other business entity organized and existing

by virtue of California law with an office and principal place of business at 1540 W. 190th St.,

Torrence, CA 90501, and was and now is engaged in business as a common carrier of goods for hire

and issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.

       174.    At and during all times relevant hereto, third-party defendant Laufer Group

International Ltd. was and now is a corporation or other business entity organized and existing by

virtue of New York law with an office and principal place of business at 20 Vesey St. New York, NY

10007, and was and now is engaged in business as a common carrier of goods for hire and issued

bills of lading for carriage of cargo aboard the Vessel including cargoes destined for ports along the

East Coast of the United States including but not limited to New York.

       175.    At and during all times relevant hereto, third-party defendant Foreway Logistics Pvt.

Ltd. was and now is a corporation or other business entity organized and existing by virtue of foreign

law with an office and principal place of business at 18 Macleod Rd., Colombo 00400 Sri Lanka, and

was and now is engaged in business as a common carrier of goods for hire and issued bills of lading

for carriage of cargo aboard the Vessel including cargoes destined for ports along the East Coast of

the United States including but not limited to New York.




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       176.    At and during all times relevant hereto, third-party defendant BDP Transport, Inc. was

and now is a corporation or other business entity organized and existing by virtue of Pennsylvania

law with an office and principal place of business at 510 Walnut St. Philadelphia, PA 19006, and

was and now is engaged in business as a common carrier of goods for hire and issued bills of lading

for carriage of cargo aboard the Vessel including cargoes destined for ports along the East Coast of

the United States including but not limited to New York.

       177.    At and during all times relevant hereto, third-party defendant City Ocean Logistics

Co. Ltd. was and now is a corporation or other business entity organized and existing by virtue of

foreign law with an office and principal place of business at 22/F Suite A, Hangtian Mansion, No.

4019 Shennan Ave, Futian D. Shenzhen, Guangdong 518048 China, and was and now is engaged in

business as a common carrier of goods for hire and issued bills of lading for carriage of cargo aboard

the Vessel including cargoes destined for ports along the East Coast of the United States including

but not limited to New York.

       178.    At and during all times relevant hereto, third-party defendant Kingwood Logistics

Ltd. was and now is a corporation or other business entity organized and existing by virtue of foreign

law with an office and principal place of business at 1501-2 15th Fl. 625 King’s Road, North Point,

Hong Kong S.A.R. China, and was and now is engaged in business as a common carrier of goods for

hire and issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined for

ports along the East Coast of the United States including but not limited to New York.

       179.    At and during all times relevant hereto, third-party defendant Newport Tank

Containers (USA) LLC was and now is a corporation or other business entity organized and existing



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by virtue of Ohio law with an office and principal place of business at 1340 Depot St. Rocky River,

OH 44116, and was and now is engaged in business as a common carrier of goods for hire and issued

bills of lading for carriage of cargo aboard the Vessel including cargoes destined for ports along the

East Coast of the United States including but not limited to New York.

       180.    At and during all times relevant hereto, third-party defendant Unifreight Global

Logistics was and now is a corporation or other business entity organized and existing by virtue of

foreign law with an office and principal place of business at 55 Sultan Hussein St., Bab Sharq,

Alexandria, Egypt, and was and now is engaged in business as a common carrier of goods for hire

and issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.

       181.    At and during all times relevant hereto, third-party defendant Clearship Forwarders

Pvt. Ltd. was and now is a corporation or other business entity organized and existing by virtue of

foreign law with an office and principal place of business at 414-416 V N Purav Marg Mumbai

400071 India, and was and now is engaged in business as a common carrier of goods for hire and

issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.

       182.    At and during all times relevant hereto, third-party defendant K Line Logistics Ltd.

was and now is a corporation or other business entity organized and existing by virtue of foreign law

with an office and principal place of business at KLL Nihonbashi Building, 8-16, Nihonbashi

Honcho 1-chome, Chuo-ku, Tokyo 103-0023 Japan, and was and now is engaged in business as a

common carrier of goods for hire and issued bills of lading for carriage of cargo aboard the Vessel



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including cargoes destined for ports along the East Coast of the United States including but not

limited to New York.

       183.    At and during all times relevant hereto, third-party defendant JAS Forwarding

Worldwide d/b/a Blue World Line was and now is a corporation or other business entity organized

and existing by virtue of Georgia law with an office and principal place of business at 6195 Barfield

Rd. Atlanta, GA 30328, and was and now is engaged in business as a common carrier of goods for

hire and issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined for

ports along the East Coast of the United States including but not limited to New York.

       184.    At and during all times relevant hereto, third-party defendant Team Leader Logistics

Pvt. Ltd. was and now is a corporation or other business entity organized and existing by virtue of

foreign law with an office and principal place of business at 802 Trade Star C Wing, 8th Fl. NR.

Chakala, Sir MV Road, Andheri Kurla Road, Andheri (E) Mumbai 400059 India, and was and now

is engaged in business as a common carrier of goods for hire and issued bills of lading for carriage of

cargo aboard the Vessel including cargoes destined for ports along the East Coast of the United

States including but not limited to New York.

       185.    At and during all times relevant hereto, third-party defendant LCL Logistics (India)

Pvt. Ltd. was and now is a corporation or other business entity organized and existing by virtue of

foreign law with an office and principal place of business at 220 Sai Commercial Centre, Govandi

Station Road, Mumbai 400088 India, and was and now is engaged in business as a common carrier

of goods for hire and issued bills of lading for carriage of cargo aboard the Vessel including cargoes

destined for ports along the East Coast of the United States including but not limited to New York.



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       186.    At and during all times relevant hereto, third-party defendant Pantainer (HK) Ltd. was

and now is a corporation or other business entity organized and existing by virtue of foreign law with

an office and principal place of business at Rm. 13011-13W 13/F ATL Log, Kwai Chung, NT Hong

Kong S.A.R. China, and was and now is engaged in business as a common carrier of goods for hire

and issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.

       187.    At and during all times relevant hereto, third-party defendant Kominis International

LLC d/b/a Poseidon Lines was and now is a corporation or other business entity organized and

existing by virtue of Virginia law with an office and principal place of business at 2447 Shenandoah

St. Vienna, VA 22180, and was and now is engaged in business as a common carrier of goods for

hire and issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined for

ports along the East Coast of the United States including but not limited to New York.

       188.    At and during all times relevant hereto, third-party defendant Everstar Sealandair Co.

Ltd. was and now is a corporation or other business entity organized and existing by virtue of foreign

law with an office and principal place of business at 220/09 Nguyen Trong Tuyen Street, Ho Chi

Minh City, Vietnam, and was and now is engaged in business as a common carrier of goods for hire

and issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.

       189.    At and during all times relevant hereto, third-party defendant Crown Logistics Ltd.

was and now is a corporation or other business entity organized and existing by virtue of foreign law

with an office and principal place of business at Apt. 4C, House 3B, Rd. 49, Gulshan 2 Dhaka 1212



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Bangladesh, and was and now is engaged in business as a common carrier of goods for hire and

issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.

       190.    At and during all times relevant hereto, third-party defendant Global Container Lines

Pvt. Ltd. was and now is a corporation or other business entity organized and existing by virtue of

foreign law with an office and principal place of business at 302 Kaveri Building, Sakinaka, Andheri

(E) Mumbai 400072 India, and was and now is engaged in business as a common carrier of goods for

hire and issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined for

ports along the East Coast of the United States including but not limited to New York.

       191.    At and during all times relevant hereto, third-party defendant Trans Service Lines Co.

Ltd. d/b/a Trans Service Line was and now is a corporation or other business entity organized and

existing by virtue of foreign law with an office and principal place of business at 9/F C-Bons

International Center, 108 Wai Yip Street, Kowloon, Hong Kong S.A.R. China, and was and now is

engaged in business as a common carrier of goods for hire and issued bills of lading for carriage of

cargo aboard the Vessel including cargoes destined for ports along the East Coast of the United

States including but not limited to New York.

       192.    At and during all times relevant hereto, third-party defendant On Time Shipping Line

Ltd. was and now is a corporation or other business entity organized and existing by virtue of foreign

law with an office and principal place of business at Unit 18 1/F Sino Ind. Plaza, Kowloon Bay,

Hong Kong S.A.R. China, and was and now is engaged in business as a common carrier of goods for




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hire and issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined for

ports along the East Coast of the United States including but not limited to New York.

       193.    At and during all times relevant hereto, third-party defendant LCL Canada Ltd. d/b/a

Lyman Container Line was and now is a corporation or other business entity organized and existing

by virtue of foreign law with an office and principal place of business at 1880 Matheson Blvd. E.

Mississauga, ON L4W 2A2, and was and now is engaged in business as a common carrier of goods

for hire and issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined

for ports along the East Coast of the United States including but not limited to New York.

       194.    At and during all times relevant hereto, third-party defendant Shine International

Transportation (HK) Ltd. d/b/a Shine Shipping Limited was and now is a corporation or other

business entity organized and existing by virtue of foreign law with an office and principal place of

business at Unit 305-307 3/F, Kwai Cheong Centre, no. 50 Kwai Cheong Road, Kwai Chung, N.T.

Hong Kong S.A.R. China, and was and now is engaged in business as a common carrier of goods for

hire and issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined for

ports along the East Coast of the United States including but not limited to New York.

       195.    At and during all times relevant hereto, third-party defendant OEC Freight Worldwide

Co. Ltd. was and now is a corporation or other business entity organized and existing by virtue of

foreign law with an office and principal place of business at 7F, No. 131 Section 3, Nanking East

Road, Taipei 104 Taiwan (R.O.C.), and was and now is engaged in business as a common carrier of

goods for hire and issued bills of lading for carriage of cargo aboard the Vessel including cargoes

destined for ports along the East Coast of the United States including but not limited to New York.



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       196.    At and during all times relevant hereto, third-party defendant Seahorse Shipping

Corp. was and now is a corporation or other business entity organized and existing by virtue of

foreign law with an office and principal place of business at 5 Dong Nai, Phuong 2, Tan Binh, Ho

Chi Minh 72108 Vietnam, and was and now is engaged in business as a common carrier of goods for

hire and issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined for

ports along the East Coast of the United States including but not limited to New York.

       197.    At and during all times relevant hereto, third-party defendant ASF Global, LLC was

and now is a corporation or other business entity organized and existing by virtue of Alabama law

with an office and principal place of business at 3812 Springhill Ave. Mobile AL 36608, and was

and now is engaged in business as a common carrier of goods for hire and issued bills of lading for

carriage of cargo aboard the Vessel including cargoes destined for ports along the East Coast of the

United States including but not limited to New York.

       198.    At and during all times relevant hereto, third-party defendant Katoen Natie Tank

Operations Inc. was and now is a corporation or other business entity organized and existing by

virtue of Texas law with an office and principal place of business at 10925 Highway 225 La Porte,

TX 77571-8718, and was and now is engaged in business as a common carrier of goods for hire and

issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.

       199.    At and during all times relevant hereto, third-party defendant India Maritime Agency

LLC d/b/a International Maritime Agency was and now is a corporation or other business entity

organized and existing by virtue of New Jersey law with an office and principal place of business at



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80 Route 4 East, Suite 210 Paramus, NJ 07652, and was and now is engaged in business as a

common carrier of goods for hire and issued bills of lading for carriage of cargo aboard the Vessel

including cargoes destined for ports along the East Coast of the United States including but not

limited to New York.

       200.    At and during all times relevant hereto, third-party defendant Dynamic Intertransport

Co. Ltd. was and now is a corporation or other business entity organized and existing by virtue of

foreign law with an office and principal place of business at 313 C.P. Tower 22nd Fl. Silom, Bangrak,

Bangkok 10500 Thailand, and was and now is engaged in business as a common carrier of goods for

hire and issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined for

ports along the East Coast of the United States including but not limited to New York.

       201.    At and during all times relevant hereto, third-party defendant Ocean Track, Inc. was

and now is a corporation or other business entity organized and existing by virtue of Florida law with

an office and principal place of business at 2401 W. Bay Dr. suite 122 & 123 Largo, Fl. 33770, and

was and now is engaged in business as a common carrier of goods for hire and issued bills of lading

for carriage of cargo aboard the Vessel including cargoes destined for ports along the East Coast of

the United States including but not limited to New York.

       202.    At and during all times relevant hereto, third-party defendant Global Ocean Agency

Lines LLC was and now is a corporation or other business entity organized and existing by virtue of

Florida law with an office and principal place of business at 1180 Ponce de Leon Blvd. Bldg. 601

Clearwater, FL 33756, and was and now is engaged in business as a common carrier of goods for




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hire and issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined for

ports along the East Coast of the United States including but not limited to New York.

       203.    At and during all times relevant hereto, third-party defendant United Global Logistics

Inc. was and now is a corporation or other business entity organized and existing by virtue of New

York law with an office and principal place of business at 124 E. Merrick Rd. Suite 101 Valley

Stream, NY 11580, and was and now is engaged in business as a common carrier of goods for hire

and issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined for ports

along the East Coast of the United States including but not limited to New York.

       204.    At and during all times relevant hereto, third-party defendant Pinnacle World

Transport Pte. Ltd. was and now is a corporation or other business entity organized and existing by

virtue of foreign law with an office and principal place of business at 135 Middle Road #05-13/14,

Bylands Building, Singapore 188975 Singapore, and was and now is engaged in business as a

common carrier of goods for hire and issued bills of lading for carriage of cargo aboard the Vessel

including cargoes destined for ports along the East Coast of the United States including but not

limited to New York.

       205.    At and during all times relevant hereto, third-party defendant Unique Logistics

International (HK) Ltd. was and now is a corporation or other business entity organized and existing

by virtue of foreign law with an office and principal place of business at Rm. B&D 4/F Sunshine

Kowloon Bay Cargo Center, 59 Tai Yip St. Kowloon Bay, Hong Kong S.A.R. China, and was and

now is engaged in business as a common carrier of goods for hire and issued bills of lading for




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carriage of cargo aboard the Vessel including cargoes destined for ports along the East Coast of the

United States including but not limited to New York.

       206.    At and during all times relevant hereto, third-party defendant Ocean Wide Logistics

Inc. was and now is a corporation or other business entity organized and existing by virtue of foreign

law with an office and principal place of business at Room 2912-2916, CEO Tower, 77 Wing Hong

Street, Lai Chi Kok, Kowloon, Hong Kong S.A.R. China, and was and now is engaged in business as

a common carrier of goods for hire and issued bills of lading for carriage of cargo aboard the Vessel

including cargoes destined for ports along the East Coast of the United States including but not

limited to New York.

       207.    At and during all times relevant hereto, third-party defendant RS Logistics Ltd. was

and now is a corporation or other business entity organized and existing by virtue of foreign law with

an office and principal place of business at Unit 1502, Nina Tower, 8 Yeung Uk Rd. Tsuen Wan

Hong Kong S.A.R. China, and was and now is engaged in business as a common carrier of goods for

hire and issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined for

ports along the East Coast of the United States including but not limited to New York.

       208.    At and during all times relevant hereto, third-party defendant Logfret, Inc. was and

now is a corporation or other business entity organized and existing by virtue of New Jersey law with

an office and principal place of business at 6801 West Side Ave. North Bergen, NJ 07047, and was

and now is engaged in business as a common carrier of goods for hire and issued bills of lading for

carriage of cargo aboard the Vessel including cargoes destined for ports along the East Coast of the

United States including but not limited to New York.



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       209.    At and during all times relevant hereto, third-party defendant Unicross Freight

Services was and now is a corporation or other business entity organized and existing by virtue of

foreign law with an office and principal place of business at 99 Gulshan Ave. 4th Fl. Rupayan golden

Age Dhaka 1212 Bangladesh, and was and now is engaged in business as a common carrier of goods

for hire and issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined

for ports along the East Coast of the United States including but not limited to New York.

       210.    At and during all times relevant hereto, third-party defendant Topocean Consolidation

Services (Los Angeles) Inc. was and now is a corporation or other business entity organized and

existing by virtue of California law with an office and principal place of business at 2601 Workman

Mill Rd. City of Industry, CA 90601, and was and now is engaged in business as a common carrier

of goods for hire and issued bills of lading for carriage of cargo aboard the Vessel including cargoes

destined for ports along the East Coast of the United States including but not limited to New York.

       211.    At and during all times relevant hereto, third-party defendant Panwin International

Logistics Co. Ltd. was and now is a corporation or other business entity organized and existing by

virtue of foreign law with an office and principal place of business at No. 52 Xiang Gang Zhong Rd.

Quingdao, Shindong, China, and was and now is engaged in business as a common carrier of goods

for hire and issued bills of lading for carriage of cargo aboard the Vessel including cargoes destined

for ports along the East Coast of the United States including but not limited to New York.

       212.    The Third-Party Defendants set forth in paragraphs 16-211 are referred to herein as

the “NVOCC Third-Party Defendants”.

                                         JURISDICTION



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       213.    This Honorable Court has subject matter jurisdiction pursuant to 28 U.S.C. §1333 and

this is a maritime and admiralty claim within the meaning of Rule 9(h) of the Federal Rules of Civil

Procedure. In addition, this Honorable Court has supplemental jurisdiction pursuant to 28 U.S.C.

§1367 in that the claims asserted herein arise out of the same transaction or occurrence and for part

of the same case or controversy

                                             VENUE

       214.    Venue was and is proper in the United States District Court for the Southern District

of New York, the judicial district in which Limitation Plaintiff filed its Limitation Action, where

certain of the cargoes were scheduled to be discharged and where the concursus of claims for the

Limitation Action has been filed and demanded.

       215.    Yang Ming transacts business in the state of New York and the bills of lading it

issued for the subject voyage had a forum selection clause designated to its consent to jurisdiction

here in New York. To the extent that any other jurisdiction is asserted by Yang Ming, as the forum

for the filing of claims, such jurisdiction was waived by the filing of the Limitation Action by the

Vessel and its Owner, which sought the protection of this honorable Court and where concursus of

claims provided by the Limitation Act has been demanded.

       216.    ONE transacts business in the state of New York, and to the extent that the bills of

lading for the subject voyage had a forum selection clause designating Singapore as the place for the

filing of claims, such jurisdiction was waived by the filing of the Limitation Action by the Vessel

and its Owner, which sought the protection of this honorable Court and where a concursus of claims

provided by the Limitation Act has been demanded.



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       217.    The Limitation Plaintiff and the Vessel filed the Limitation Action pursuant to 46

U.S.C. §30501 on or about June 19, 2019, seeking exoneration from or otherwise limiting their

liability to the value of the Vessel and pending freight at the time of the Fire. These parties also

sought and obtained a “Concursus” pursuant to the Limitation Act, and invoked the jurisdiction of

the United States District Court for the Southern District of New York, obtaining an Order

restraining, inter alia, the Hill Rivkins’ Claimants from commencing or prosecuting any action and

prohibiting them from obtaining any further warrants of arrest, seizure or attachment against the

foregoing parties. [Docket No. 12].

       218.    By reason of the foregoing, The Limitation Plaintiff and the Vessel have invoked the

exclusive jurisdiction of this Honorable Court and have waived the benefits of any so-called forum

selection clauses in any bill of lading issued in connection with the subject voyage.

       219.    Yang Ming and ONE did not own the Vessel and, therefore, are not entitled to limit

their liability under the Limitation Act.

                                            BACKGROUND

       220.    On January 3, 2019, while in-transit from Colombo, Sri Lanka to Halifax, Nova

Scotia and ports along the U.S. East Coast, including the Port of New York, a fire erupted aboard the

Vessel about 1,900 kilometers Southeast of Nova Scotia (the “Fire”).

       221.    Shortly after the Fire broke out, HL retained Smit Salvage Americas, professional

salvors, under a Lloyd’s Open Form (“LOF”) to fight the Fire and tow the Vessel to a port of refuge.




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       222.       Although the crew made efforts to fight the Fire prior to the arrival of Smit, the 8

officers and 13 crew abandoned the Vessel on or about January 7, 2019, and were taken aboard the

tug Smit Nicobar.

       223.       The Fire was eventually brought under control by Smit and five crew members re-

boarded the Vessel.

       224.       On January 25, 2019, HL declared General Average (“GA”) and appointed Richards

Hogg Lindley (“RHL”), general average adjusters, to collect security from cargo interests for general

average.

       225.       Although the Vessel was destined for Halifax at the time of the fire, an otherwise

suitable port of refuge, the decision was made to have the Vessel proceed to Freeport, Bahamas as a

port of refuge.

       226.       The Vessel proceeded to Freeport and, after receiving clearance from the Port

Authorities, berthed in Freeport on February 4, 2019.

       227.       Approximately, 198 cargo laden containers that are a total loss and about 460 cargo

laden containers were affected by the Fire.

       228.       Discharge of the damaged cargo and containers was completed on or about May 1,

2019, and the Vessel Defendants conditioned delivery of the containers on the posting of General

Average security by Plaintiffs and their Insureds.

                          AS AND FOR A FIRST CAUSE OF ACTION
                     (Breach of Contract of Carriage - All Vessel Defendants)

       229.       Hill Rivkins Claimants repeat and reallege each and every allegation set forth in

paragraphs 1-123 as if set forth herein at length.


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       230.    On or about the dates and at the ports of shipment stated in The Schedules, there was

delivered to the Vessel and the Vessel Defendants in good order and condition and suitable in every

respect for the intended transportation the shipments described in The Schedules, which the Vessel

and Vessel Defendants received, accepted and agreed to transport for certain consideration to the

ports of destination stated in The Schedules, and the referenced bills of lading.

       231.    Certain cargoes insured by Hill Rivkins’ Claimants are either a total loss or have

sustained damage as a result of the Fire. In addition, certain other cargoes insured by Hill Rivkins

Claimants that have not been damaged are subject to salvage and general average liens and payment

related to the salvage and general average claims that have been asserted as a result of the Fire.

       232.    By reason of the premises, the Vessel was unseaworthy and the Vessel Defendants

breached, failed and violated their duties to the Hill Rivkins’ Claimants as common carriers by water

for hire and/or bailees and caused additional aggravated damages above and beyond the invoice

value of the cargo, as set forth above and were negligent and otherwise at fault.

       233.    The Vessel, the Limitation Plaintiff and/or the Vessel Defendants knew or had reason

to know of the unseaworthy conditions leading to the Fire aboard the Vessel that were the proximate

cause of the loss.

       234.    Upon information and belief, the Fire was caused by a certain dangerous/hazardous

cargo, which was accepted, stowed and carried aboard the Vessel by the Vessel Defendants.

       235.    Due to the Vessel and the Vessel Defendants’ failure to properly and safely determine

whether the cargo(es) was properly described as hazardous or non-hazardous; to properly and safely

stow the cargo(es) aboard the Vessel in order to eliminate the risk of fire and explosion; to ensure



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that the cargo was properly described, to properly and safely extinguish the Fire and prevent its

spread, and for such other and further reasons as may be developed in discovery, the Hill Rivkins’

Claimants suffered damage as a result of the Fire.

        236.    Upon information and belief, the Fire was caused or contributed to by defects in the

Vessel’s design, construction and/or electrical systems aboard the Vessel.

        237.    The Hill Rivkins’ Claimants were the shippers, consignees, owners, cargo insurers or

their authorized representatives in connection with the shipments as described in The Schedules and

bring this action on their own behalf and, as agents and trustees, on behalf of and for all interests of

parties who may be or become interested in the said shipments as their respective interests may

ultimately appear and plaintiffs are entitled to maintain this action.

        238.    Hill Rivkins’ Claimants have duly performed all duties and obligations on their part

to be performed.

        239.    By reason of the premises, the Hill Rivkins’ Claimants have sustained damage, no

part of which has been paid although duly demanded, as set forth in more detail in The Schedules.

                        AS AND FOR A SECOND CAUSE OF ACTION
                           (Declaratory Judgment General Average)

        240.    The Hill Rivkins’ Claimants repeat and reallege the allegations set forth in paragraphs

1-134 as if set forth herein at length.

        241.    On January 25, 2019, HL declared General Average (“GA”) and appointed Richards

Hogg Lindley to collect security from cargo interests for general average.




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        242.    The Vessel, HL and/or the Vessel Defendants knew or had reason to know of the

unseaworthy conditions leading to the Fire aboard the Vessel that were the proximate cause of the

loss.

        243.    Upon information and believe, the Fire was caused by hazardous cargo carried aboard

the Vessel, which was accepted, stowed and carried aboard the Vessel by the Vessel Defendants.

        244.    Due to the Vessel and the Vessel Defendants failure to properly and safely determine

whether the cargo(es) was properly described as hazardous or non-hazardous; to properly and safely

stow the cargo(es) aboard the Vessel in order to eliminate the risk of fire and explosion; to properly

and safely extinguish the Fire and prevent its spread, and for such other and further reasons as may

be developed in discovery, Third Party Plaintiffs have suffered damage.

        245.    By reason of the premises, HL and the Vessel Defendants are not entitled to declare

General Average and are not entitled to any contribution in General Average from any of the Hill

Rivkins’ Claimants.

        246.    Hill Rivkins’ Claimants were the shippers, consignees, owners, cargo insurers or their

authorized representatives in connection with the shipments as described The Schedules and bring

this action on their own behalf and, as agents and trustees, on behalf of and for all interests of parties

who may be or become interested in the said shipments as their respective interests may ultimately

appear and are entitled to maintain this action.

        247.    The Hill Rivkins’ Claimants have duly performed all duties and obligations on their

part to be performed.




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       248.    By reason of the premises, the Hill Rivkins’ Claimants are entitled to a declaration

that the Vessel and Vessel Defendants are not entitled to General Average.

                           AS AND FOR A THIRD CAUSE OF ACTION
                   (Tort – Vessel Defendants, Transworld and Orient Star)

       249.    The Hill Rivkins’ Claimants repeat and realleges the allegations set forth in

paragraphs 1 through 143 as if set forth herein at length.

       250.    The Vessel Defendants owed a duty to all cargo carried aboard the Vessel to exercise

due diligence to provide a seaworthy ship, to coordinate the receipt, acceptance, loading and delivery

of the cargoes to the ports of destination in good order and condition and to determine the hazardous

and/or dangerous propensities of cargoes accepted for shipment, to properly stow all cargo including

hazardous and/or dangerous cargo.

       251.    Transworld and Orient Star, as parties to certain bills of lading and/or as non-vessel

owning common carriers, owed a duty to all cargo aboard the Vessel to exercise due diligence to

provide a seaworthy ship, to coordinate the receipt, acceptance, loading and delivery of the cargoes

to the ports of destination in good order and condition and to determine the hazardous and/or

dangerous propensities of cargoes accepted for shipment, to properly stow all cargo including

hazardous and/or dangerous cargo.

       252.    The Vessel Defendants, Transworld and/or Orient Star failed to discharge their duties

and responsibilities in accordance with the general maritime law and/or the International Maritime

Dangerous Goods (“IMDG”) Code, and were otherwise negligent.

       253.    The Fire and resulting damage to cargo and exposure to potential payments for

Salvage and General Average were directly and proximately caused by the Vessel Defendants,


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Transworld and Orient Star’s breach of the standards of care under the general maritime law and/or

the IMDG Code.

        254.    The Vessel Defendants, Transworld and Orient Star, either individually or collectively

are liable to Hill Rivkins’ Claimants for breach of the duty of care and the resulting Fire that resulted

in damage to the cargoes and exposure to potential payments for Salvage and General Average.

        255.    The Hill Rivkins’ Claimants bring this action on their own behalf and, as agents and

trustees, on behalf of and for all interests of parties who may be or become interested in the said

shipments as their respective interests may ultimately appear and plaintiffs are entitled to maintain

this action.

        256.    Hill Rivkins’ Claimants have duly performed all duties and obligations on their part

to be performed.

        257.    By reason of the premises, Hill Rivkins’ Claimants may be called upon to pay

damages as nearly as same can now be determined, in excess of $75,000,000.




                       AS AND FOR A FOURTH CAUSE OF ACTION
           (Failure to Warn Against Third-Party Defendants Bao Binh and Zemu)

        258.    The Hill Rivkins’ Claimants repeat and reallege the allegations set forth in paragraphs

1 to 152 as if set forth herein at length.

        259.    Third-Party Defendants Bao Binh and Zemu were the owners, manufacturers,

shippers, consignees, receivers, and/or buyers of the Coconut Pellet Cargo and knew or should have




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known of the inherently dangerous nature of the cargo prior to delivery to the Vessel Defendants and

the Vessel.

       260.    Third-Party Defendants Bao Binh and Zemu were obligated to adequately warn and/or

inform Plaintiffs’ Insureds, the Vessel and the Vessel Defendants of the inherently dangerous nature

of the Coconut Pellet Cargo.

       261.    The Coconut Pellet Cargo constituted goods of an inflammable, explosive or

dangerous nature.

       262.    Third-Party Defendants Bao Binh and Zemu introduced the Coconut Pellet Cargo into

the stream of commerce and transported the cargo to the United States without providing any

warning of its inherently dangerous nature.

       263.    In failing to warn and/or inform Plaintiffs’ Insureds, the Vessel and/or Vessel

Defendants of the inherently dangerous, inflammable and/or explosive nature of the cargo makes

Third-Party Defendants Bao Binh and Zemu, as shippers and/or consignees, liable for all of the

damages and expenses directly or indirectly arising out of or resulting from such shipment pursuant

to 46 U.S.C. § 1304 and any and all other applicable law.

       264.    The Hill Rivkins’ Claimants were the shippers, consignees, owners, cargo insurers or

their authorized representatives in connection with the shipments as described in The Schedules and

bring this action on their own behalf and, as agents and trustees, on behalf of and for all interests of

parties who may be or become interested in the said shipments as their respective interests may

ultimately appear and plaintiffs are entitled to maintain this action.

       265.    Plaintiffs have duly performed all duties and obligations on their part to be performed.



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        266.    By reason of the premises, Plaintiffs may be called upon to pay damages as nearly as

same can now be determined, in excess of $75,000,000.


                      AS AND FOR A FIFTH CAUSE OF ACTION
      (Failure to Warn Against Third-Party Defendants Transworld and Orient Star)

        267.    The Hill Rivkins’ Claimants repeat and reallege the allegations set forth in paragraphs

1 to 161 as if set forth herein at length.

        268.    Third-Party Defendants Transworld and Orient Star were the shippers and consignees

of the Coconut Pellet Cargo on certain bills of lading and knew or should have known of the

inherently dangerous nature of the cargo prior to delivery to the Vessel Defendants and the Vessel.

        269.    Third-Party Defendants Transworld and Orient Star were obligated to adequately

warn and/or inform Plaintiffs’ Insureds, the Vessel and the Vessel Defendants of the inherently

dangerous nature of the Coconut Pellet Cargo.

        270.    The Coconut Pellet Cargo constituted goods of an inflammable, explosive or

dangerous nature.

        271.    Third-Party Defendants Transworld and Orient Star introduced the Coconut Pellet

Cargo into the stream of commerce and transported the cargo to the United States without providing

any warning of its inherently dangerous nature.

        272.    In failing to warn and/or inform Plaintiffs’ Insureds, the Vessel and/or Vessel

Defendants of the inherently dangerous, inflammable and/or explosive nature of the cargo makes

Third-Party Defendants Transworld and Orient Star, as shippers and/or consignees, liable for all of




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the damages and expenses directly or indirectly arising out of or resulting from such shipment

pursuant to 46 U.S.C. § 1304 and any and all other applicable law.

        273.    The Hill Rivkins’ Claimants were the shippers, consignees, owners, cargo insurers or

their authorized representatives in connection with the shipments as described in The Schedules and

bring this action on their own behalf and, as agents and trustees, on behalf of and for all interests of

parties who may be or become interested in the said shipments as their respective interests may

ultimately appear and plaintiffs are entitled to maintain this action.

        274.    The Hill Rivkins’ Claimants have duly performed all duties and obligations on their

part to be performed.

        275.    By reason of the premises, the Hill Rivkins’ Claimants may be called upon to pay

damages as nearly as same can now be determined, in excess of $75,000,000.


                     AS AND FOR A SIXTH CAUSE OF ACTION
(Negligence Against Third-Party Defendants Bao Binh, Zemu, Transworld and Orient Star)

        276.    The Hill Rivkins’ Claimants repeat and reallege the allegations set forth in paragraphs

1 to 170 as if set forth herein at length.

        277.    Third-Party Defendants as the owners, manufacturers, shippers, consignees receivers

and./or buyers of the Coconut Pellets Cargo were obligated and duty-bound, regardless of

knowledge, to adequately warn and/or inform the Hill Rivkins’ Claimants, the Vessel and the Vessel

Defendants of the inherently dangerous, explosive and/or flammable nature of the Coconut Pellet

Cargo and to properly package, brace and stow said cargo prior to carriage.




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       278.    Third-Party Defendants Bao Binh, Zemu, Transworld and Orient Star were obligated

to adequately warn, fully investigate the conditions necessary for its safe packing, handling,

packaging and carriage and/or inform Plaintiffs’ Insureds, the Vessel and the Vessel Defendants of

the inherently dangerous, explosive and/or flammable nature of the Coconut Pellet Cargo.

       279.    Third-Party Defendants Bao Binh, Zemu, Transworld and Orient Star knew or should

have known of the inherently dangerous, explosive and/or flammable nature of the Coconut Pellet

Cargo and failed to alert, investigate and./or notify the Vessel and/or Vessel Defendants.

       280.    The Coconut Pellet Cargo constituted goods of an inflammable, explosive or

dangerous nature.

       281.    Third-Party Defendants Bao Binh, Zemu, Transworld and Orient Star introduced the

Coconut Pellet Cargo into the stream of commerce and transported the cargo to the United States

without providing any warning of its inherently dangerous nature.

       282.    The Hill Rivkins’ Claimants were the shippers, consignees, owners, cargo insurers or

their authorized representatives in connection with the shipments as described in The Schedules and

bring this action on their own behalf and, as agents and trustees, on behalf of and for all interests of

parties who may be or become interested in the said shipments as their respective interests may

ultimately appear and plaintiffs are entitled to maintain this action.

       283.    The Hill Rivkins’ Claimants have duly performed all duties and obligations on their

part to be performed.

       284.    By reason of the premises, the Hill Rivkins’ Claimants may be called upon to pay

damages as nearly as same can now be determined, in excess of $75,000,000.



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                               AS AND FOR A SEVENTH CAUSE OF ACTION
(Strict Liability Against Third-Party Defendants Bao Binh, Zemu, Transworld and Orient Star)

          285.    The Hill Rivkins’ Claimants repeat and reallege the allegations set forth in paragraphs

  1 to 179 as if set forth herein at length.

          286.    Third-Party Defendants as the owners, manufacturers, shippers, consignees receivers

  and./or buyers of the Coconut Pellets Cargo were obligated and duty-bound, regardless of knowledge,

  to adequately warn and/or inform the Hill Rivkins’ Claimants, the Vessel and the Vessel Defendants of

  the inherently dangerous, explosive and/or flammable nature of the Coconut Pellet Cargo and to

  properly package, brace and stow said cargo prior to carriage.

          287.    The Coconut pellet Cargo was unsafe and unreasonably dangerous and was the direct

  and proximate cause of the Fire.

          288.    Third-Party Defendants Bao Binh, Zemu, Transworld and Orient Star introduced the

  Coconut Pellet Cargo into the stream of commerce and transported the cargo to the United States in

  an unsafe and unreasonably dangerous condition.

          289.    The Hill Rivkins’ Claimants were the shippers, consignees, owners, cargo insurers or

  their authorized representatives in connection with the shipments as described in The Schedules and

  bring this action on their own behalf and, as agents and trustees, on behalf of and for all interests of

  parties who may be or become interested in the said shipments as their respective interests may

  ultimately appear and plaintiffs are entitled to maintain this action.

          290.    The Hill Rivkins’ Claimants have duly performed all duties and obligations on their

  part to be performed.




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       291.    By reason of the premises, the Hill Rivkins’ Claimants may be called upon to pay

damages as nearly as same can now be determined, in excess of $75,000,000.


                    AS AND FOR AN EIGHTH CAUSE OF ACTION
          (Breach of Contract of Carriage - All NVOCC Third-Party Defendants)

       292.    Hill Rivkins Claimants repeat and reallege each and every allegation set forth in

paragraphs 1-186 as if set forth herein at length.

       293.    On or about the dates and at the ports of shipment stated in The Schedules, there was

delivered to the NVOCC Third-Party Defendants in good order and condition and suitable in every

respect for the intended transportation the shipments described in The Schedules, which the NVOCC

Third-Party Defendants received, accepted and agreed to transport for certain consideration to the

ports of destination stated in The Schedules, and the referenced bills of lading.

       294.    Certain cargoes insured by Hill Rivkins’ Claimants are either a total loss or have

sustained damage as a result of the Fire. In addition, certain other cargoes insured by Hill Rivkins

Claimants that have not been damaged are subject to salvage and general average liens and payment

related to the salvage and general average claims that have been asserted as a result of the Fire.

       295.    By reason of the premises, the Vessel was unseaworthy and the NVOCC Third-Party

Defendants breached, failed and violated their duties to the Hill Rivkins’ Claimants as common

carriers by water for hire and/or bailees and caused additional aggravated damages above and beyond

the invoice value of the cargo, as set forth above and were negligent and otherwise at fault.




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       296.    The Vessel, the Limitation Plaintiff and/or the Third-Party Defendants knew or had

reason to know of the unseaworthy conditions leading to the Fire aboard the Vessel that were the

proximate cause of the loss.

       297.    Upon information and belief, the Fire was caused by a certain dangerous/hazardous

cargo, which was accepted, stowed and carried aboard the Vessels.

       298.    The Hill Rivkins’ Claimants were the shippers, consignees, owners, cargo insurers or

their authorized representatives in connection with the shipments as described in The Schedules and

bring this action on their own behalf and, as agents and trustees, on behalf of and for all interests of

parties who may be or become interested in the said shipments as their respective interests may

ultimately appear and plaintiffs are entitled to maintain this action.

       299.    Hill Rivkins’ Claimants have duly performed all duties and obligations on their part

to be performed.

       300.    By reason of the premises, the Hill Rivkins’ Claimants have sustained damage, no

part of which has been paid although duly demanded, as set forth in more detail in The Schedules.

       W H E R E F O R E, Claimants/Third-Party Plaintiffs pray:

       1.      That process in due form of law according to the practice of this Court may issue

against the Third-Party Defendants.

       2.      That if the Third-Party Defendants cannot be found within this District, that all of

their property within this District, as shall be described in the affidavit, be attached in the sum set

forth in Schedule A, with interest and costs.




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       3.      That judgment be entered against the Vessel Defendants on the First Cause of Action

in the amount of Plaintiffs’ damage, together with interest, costs and attorneys’ fees.

       4.      That judgment be entered against the Vessel Defendants on the Second Cause of

Action finding that they are not entitled to General Average, together with interest, costs and

attorneys’ fees.

       5.      That judgment be entered against the Vessel Defendants on the Third Cause of Action

in the amount of Plaintiffs’ damage, together with interest, costs and attorneys’ fees.

       6.      That judgment be entered against the Third-Party Defendants Bao Binh and Zemu on

the Fourth Cause of Action in the amount of Plaintiffs’ damage, together with interest, costs and

attorneys’ fees.

       7.      That judgment be entered against the Third-Party Defendants Transworld and Orient

Star on the Fifth Cause of Action in the amount of Plaintiffs’ damage, together with interest, costs

and attorneys’ fees.

       8.      That judgment be entered against Third-Party Defendants Bao Binh, Zemu,

Transworld and Orient Star on the Sixth Cause of Action in the amount of Plaintiffs’ damage,

together with interest, costs and attorneys’ fees.

       9.      That judgment be entered against Third-Party Defendants Bao Binh, Zemu,

Transworld and Orient Star on the Seventh Cause of Action in the amount of Plaintiffs’ damage,

together with interest, costs and attorneys’ fees.

       10.     That judgment be entered against the NVOCC Third-Party Defendants on the Eighth

Cause of Action in the amount of Plaintiffs’ damage, together with interest, costs and attorneys’ fees.



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       11.    Plaintiff further prays for such other, further and different relief as to this Court may

seem just and proper in the premises.


Dated: New York, New York
       March 4, 2020

                                        HILL RIVKINS LLP
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